Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 1 of 49 Page ID #:6




                        EXHIBIT A
Electronically FILED by Superior
                        Superior Court
                                 Court of
                                       of California,
                                          California, County of Los Angeles on 06/03/201,8g3WAffigrri R.
                                                                                                      R.Carter, Executive Officer/Clerk
                                                                                                         Carter,Executive Officer/Clerk of
                                                                                                                                        of Court,
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                                                                                                                                                  by R..Clifton,Depul   irk Ho
                Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 2 of 49 Page ID #:7
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                                                       (CITACION
                                                       (CITACION JUDICIAL)
                                                                 JUDICIAL)
             NOTICE TO
                     TO DEFENDANT:
                        DEFENDANT:
             (AVISO
             (AVISO AL DEMANDADO):
              BANK OF AMERICA,
                          AMERICA, N.A.,
                                   N.A., a national banking'
                                                    banking* association;
                                                             association; and DOES
              1-20,
              1-20, inclusive,
                    inclusive,
             YOU
             YOU ARE
                  ARE BEING SUED
                            SUED BY PLAINTIFF:
                                    PLAINTIFF:
             (LO
             (LO ESTA DEMANDANDO
                      DEMANDANDO EL   DEMANDANTE):
                                   el DEMANDANTE):                                                                                                                                                                                      I

             MARLENE KRISTOVICH,
                          KRISTOVICH, an individual and as Trustee
             (Additional
             (Additional Parties Attachment form is attached.)
                                                    attached.)
                NOTICE!
                NOTICE! You You have
                                  have been sued.sued. The court may decide against you without your being heard unless you respond within 30                                    days. Read the
                                                                                                                                                                            30 days.              the Information
                                                                                                                                                                                                        Information
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               served
               sen/ed on the plaintiff.
                                  plaintiff. A letter or phone call will not protect you.  you. Your written response must be in              In proper legal form If you want the court to hear your
               case.
               case. There may be a court form that you can use for your                   response. You can find these court forms and more information
                                                                                    yoir response.                                                                information at  at the
                                                                                                                                                                                      the California
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               Online
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                       Self-Help Center
                                     Center (www.courtinfo.ca.govisalthelp),
                                               {www.courtlnfo.ca.gov/selfhelp), your     your county
                                                                                                county law
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                           dark for a fee waiver form.form. If you do not file your response on time,       time, you may lose the case by default,    default, and your wages,wages, money,
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                      nonprofit groups
                                   groups at at the
                                                the California
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              (www.courtinto.ca.goviselfhelp),
               {www.courtinfo.ca.gov/selfhelp), or      or by
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              costs on any settlement or arbitration award of $10,000 or more in                  In a civil
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             Awww.lawhelpcalitomia.org),
             (Www.lawhelpcalifomia.org;, en el Centro     Centn de Ayuda de las Cortes de Getting&      California, (www.sucorte.ca.gov)o
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                                   Angeles, CA,
                                            CA, 90012

           The name,
                name, address,
                      address, and telephone number of plaintiffs attorney,
                                                                   attorney, or plaintiff without an attorney,
                                                                                                     attorney, is:
                                                                                                               is;
           (El
           (£1 nombre,
               nombre, la direction
                          direccldn y el nOmero de telefono                  demandante, o del demandante qua
                                                   tetefono del abogado del demandante,                                        abogado, es):
                                                                                                                  que no tiene abogado, es):
            Neville L.
                    L. Johnson,
                       Johnson, 439 N.
                                    N. Canon Dr.,
                                             Dr., Suite 200,
                                                        200, Beverly Hills,
                                                                     Hills. CA,
                                                                            CA, 90210;
                                                                                90210; 310-975-1080
                                                                       Sherri
                                                                       Sherri R.
                                                                              R. Carter Executive Officer!
                                                                                 Carter Executive           Clerk of
                                                                                                  Officer / Clerk of Court
                                                                                                                     Court
            DATE:
            DATE:                                                                   Clerk
                                                                                    Clerk,,by                                                                                                           , Deputy
            (Fecha) 06/03/2019
           (Fecha)       06/03/2019                                                 (Secretario)
                                                                                    (Secretario)                 Romunda
                                                                                                                  Romunda Clifton
                                                                                                                          Clifton                                                                       (Adjunto)
                                                                                                                                                                                                         (Adjunto)
           (For
           (For proof of service of this summons,
                                         summons, use Proof of Service of Summons((cm     (form POS-010).)
                                                                                                POS-010).)
           (Para
           (Para pnieba
                    prueba de entrega da
                                      de este
                                          esta citatiOn
                                               citation use el formulado
                                                               formularlo Proof of Service of Summons,
                                                                                               Summons, (POS-010)).
                                                                                                          (POS-010)).
                                               NOTICE TO THE PERSON SERVED:  SERVED: You are served
                                                                                                 served*or      , .
             (SEAL]
                                              1.
                                              1. CI    I as an individual defendant.
                                                                          defendant.                                             %
                                              2.
                                              2. (     I as the person sued under the fictitious
                                                                                        fi^itlous name of (specify):
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                                                           3. CSH on
                                                           3, M3  on behalf
                                                                     tiehaif of
                                                                             of(spectfy):Bakik
                                                                                (spBCffy):S3tnU Of                           of America ,r4 .A ..,a
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                                                                under:
                                                                under: EX:1 CCP 416.10 (corporation)
                                                                                        (corporation)                 I                                     1 CCP 416.60(minor)
                                                                                                                                                                         (minor)
                                             A                         I   I CCP 416.20 (defunct
                                                                                        (defunct corporation)
                                                                                                 corporation)         I
                                                                                                                     I-                                    1I CCP 416.70 (conservatee)
                                                                                                                                                                         (conservatee)                                     J
                        rills        ifg                               in
                                                                       I                (association or partnership)
                                                                          I CCP 416.40 (association     partnership) 0|                                     | CCP 416.90 (authorized person)
                                                                                                                                                                         (authorized person)
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  L
                                                                                                      CASE NUMBER:
                                                                                                           NUMBER:
       SHORT TITLE:
             TITLE:
   _ Marlene Kristovich et al.
                           al. v.
                               v. Bank of America

                                                                INSTRUCTIONS
                                                                INSTRUCTIONS FOR USE
      ▪4 This form may be used as an attachment
                                           anachment to any summons If    if space does not permit the listing of all parties on the summons.
                                                                                                                                     summons.
      -►
       > IfIf this attachment is
                              Is used, Insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
         Attachment form is attached."
                                                                                                                                                           i


      List
      List additional parties (Check only one box. Use a separate page for each type ofparty.):

        ILI
        FTl Plaintiff                   (~~i Defendant    E3
                                                          Q]   Cross-Complainant   ❑   Cross-Defendant

      of the June 25,
                  25, 1985
                      1985 Trust aka Trust utd 6/25/85,
                                               6/25/85, the March 21,
                                                                  21, 2013 Trust,
                                                                           Trust, the June 15,2013 Trust,
                                                                                           15,2013 Trust, and the
      August 1, 2013 Trust,
              1,2013  Trust,



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 Form Adopted
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            CoundlofCaUtonda                             ADDITIONAL PARTIES ATTACHMENT
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5UM*200{A](Rev.
             (Rev. January 1,1. 2007j
                                2007)                          Attachment to Summons
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                                               Stanley Mosk Courthouse,
                                                            Courthouse,       07/15/19
                                                                        Judicial Officer RichardPage
                                                                                                 Rico 4 of 49 Page ID #:9




     11   Neville L.
                  L. Johnson(SBN
                              (SBN 66329)
                                     66329)
          Robert Paredes(SBN
                          (SBN 255329)
                                 255329)
     2    JOHNSON && JOHNSON LLP
          439 North Canon Drive,
                             Drive, Suite 200
     3    Beverly Hills,
                  Hills, California 90210
          Telephone:
          Telephone: (310)
                      (310) 975-1080
     4    Facsimile:
          Facsimile: (310)  975-1095
                     (310)975-1095
          Email:
          Email:         njohnson
                         nj ohnson@jjIlplaw.com
                                       llplaw.com
     5                   maredes      Iplaw.com
                         rparedes@jjllplaw.com
 6 Attorneys for Plaintiffs,         Kristovich, an individual and as Trustee of the June 25,
                 Plaintiffs, Marlene Kristovich,                                              1985 Trust
                                                                                          25, 1985
                 6/25/85, the March 21,
   aka Trust utd 6/25/85,                2013 Trust,
                                     21,2013  Trust, the June 15,2013 Trust,
                                                              15,2013   Trust, and the August 1, 2013 Trust
                                                                                               1,2013
 7
 8                         THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
                                                  COUNTY OF LOS ANGELES
10
10
11 MARLENE ICRISTOVICH,
11              KRISTOVICH, an individual and                  Case No.:
                                                                    No.:
   as Trustee of the June 25,1985 Trust aka Trust
                          25,1985
12
12 utd 6/25/85,
       6/25/85, the  March 21,
                           21, 2013 Trust,
                                    Trust, the June
   15,
   15, 2013 Trust,
            Trust, and the August 1, 2013 Trust,
                                   1,2013  Trust,             COMPLAINT FOR:
                                                                        FOR:
13
13
          Plaintiff,
          Plaintiff,                                          1.
                                                              1.            BREACH OF CONTRACT;
                                                                                       CONTRACT;                                                               i

14
14                                                            2.
                                                              2.            NEGLIGENCE;
                                                                            NEGLIGENCE;
                                                              3.
                                                              3.            INVASION
                                                                            INVASION OF PRIVACY                                                                I
15
15               vs.
                 vs.                                                        [PUBLICATION
                                                                            [PUBLICATION OF PRIVATE
                                                                            FACTS];
                                                                            FACTS]; AND
16
16                                                            4.
                                                              4.            INVASION OF PRIVACY
                                                                            INVASION
   BANK OF AMERICA,
              AMERICA, N.A.,
                           N.A., a national                                 [VIOLATION
                                                                            [VIOLATION OF STATUTE]
                                                                                          STATUTE]
           association; and DOES 1-20,
17 banking association;
17                                  1-20, inclusive,
                                          inclusive,

18
18               Defendants.
                 Defendants.

19
19                                                            DEMAND FOR JURY TRIAL

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                                                         COMPLAINT
  Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 5 of 49 Page ID #:10




     11         1.
                1.      PlaintiffMARLENE
                       Plaintiff MARLENEKRISTOVICH
                                         KRISTOVICH(“Plaintiff”)
                                                   ("Plaintiff')hereby
                                                                 herebyalleges
                                                                        allegesas
                                                                                asfollows;
                                                                                   follows:                              !

     2                                             ,.    PARTIES
                                                                                                                         f
     3          2.
                2.     Plaintiff is an individual and a resident of the State of California,
                                                                                 California, County of Los
     4 Angeles.
       Angeles. Plaintiff is the trustee of the June 25,1985 Trust aka Trust utd 6/25/85,
                                                     25,1985                     6/25/85, the March 1,
                                                                                                    1, 2013
     5 Trust,
       Trust, the June 15,
                       15, 2013 Trust,
                                Trust, and the August 1,
                                                      1, 2013 Trust.
                                                              Trust.
     6          3.
                3.     Defendant BANK OF AMERICA,
                                         AMERICA, N.A.
                                                  N.A. ("Defendant"
                                                       (“Defendant” and/or "BANA")
                                                                           “BANA”) is a national                     ;
                                                                                                                     :
     7 banking association organized under the laws of the United States and a resident of the state of
     8 California.
       California.
     9         4.
               4.      Plaintiff is informed and believes,
                                                 believes, and based thereon alleges,
                                                                             alleges, that at all times herein       !
 10
 10 mentioned,
    mentioned, each defendant named herein was the agent and/or employee of the other co-defendants,
                                                                                      co-defendants,
 11
 11 and at all times were and are acting within the purpose and scope of such agency and/or employment,
                                                                                            employment,
 12
 12 and with the permission and consent of his/her/its co-defendants with knowledge,
                                                                          knowledge, authorization,
                                                                                     authorization,
                                                                                                                     i
 13
 13 permission,
    permission, consent,
                consent, and/or subsequent ratification and approval of each co-defendant.
                                                                             co-defendant. Plaintiff is
 14
 14 further informed and believes,
                         believes, and based thereon alleges,
                                                     alleges, that each named and unnamed defendant
15
15 knowingly and willfully conspired and agreed among themselves to deprive Plaintiff of her rights and
16
16 to cause the damages described herein.
                                  herein.
17
17             5.
               5.     Plaintiff is ignorant of the true names of defendants sued herein as DOES 1 through 20

18
18 inclusive,
   inclusive, and therefore sues those defendants under such fictitious names.
                                                                        names. Plaintiff is informed and
19
19 believes,
   believes, and based thereon alleges,
                               alleges, that each of the fictitiously named defendants are responsible in
20 some manner for the actions or inactions alleged herein.
                                                    herein. Plaintiff will amend this Complaint when the
21 true identities of said DOES have been ascertained.
                                          ascertained.
22                                       BACKGROUND ALLEGATIONS
23            6.
              6.      Plaintiff is a retired judge of the Los Angeles Superior Court.
                                                                               Court. Governor George
24 Duekmajian appointed Plaintiff to the Los Angeles Municipal Court in 1990,
                                                                        1990, and in 1994
                                                                                     1994 she was
25 elected to the Los Angeles Superior Court where she handled criminal,
                                                               criminal, civil,
                                                                         civil, probate,
                                                                                probate, family law,
                                                                                                law, and
26 writs until 2011.
               2011. Plaintiff maintains a low
                                           low profile and carefully guards and protects her personal
27 information because as a retired judge her privacy is a matter of fmancial
                                                                     financial and personal safety.
                                                                                            safety.
28
                                                            11                                                   !
                                                        COMPLAINT
                                                        COMPLAINT

                                                                                                                 !
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     1         7.
               7.      Plaintiff has been a BANA customer since 1952.
                                                                1952. Her father,
                                                                          father, Baldo Kristovich,
                                                                                        Kristovich, opened
                                                                                                                              !
     2 Plaintiff's
       Plaintiffs first account with BANA.
                                     BANA. Mr.
                                           Mr. ICristovich
                                               Kristovich died on March 1,
                                                                        1, 2013.
                                                                           2013.
                                                                                                                              i

     3         8.
               8.      Plaintiff and her sister,
                                         sister, Maria T.
                                                       T. Reynoso ("Maria"),
                                                                  (“Maria”), are co-trustees of The ICristovich
                                                                                                    Kristovich            i

     4 Family Trust,
              Trust, dated March 19,
                                 19, 1986,
                                     1986, as amended (the
                                                      (the "Trust").
                                                           “Trust”).
     5         9.
               9.     On or about February 5,
                                           5, 2014,
                                              2014, Maria filed a Petition for the return of property that was
     6 allegedly converted from the Trust by Plaintiff(LASC
                                                      (LASC Case No.
                                                                 No. BP149121)
                                                                     BP149121) (the
                                                                               (the "Underlying
                                                                                    “Underlying                           :1

     7 Action").
       Action”).                                                                                                          !

     8         10.
               10.    Maria and her attorneys engaged in scorched earth discovery by propounding
     9 voluminous,
       voluminous, overbroad,
                   overbroad, harassing,
                              harassing, and wholly unwarranted subpoenas to Plaintiff's
                                                                             Plaintiffs financial
 10
 10 institutions.
    institutions. Specifically,
                  Specifically, Maria sought Plaintiff's
                                             Plaintiffs private banking information,
                                                                        information, which is protected by                !

 11
 11 Article I,
            1, §1,
               §1, of the California Constitution.
                                     Constitution.
 12
 12            11.
               11.    On May 19,
                             19, 2017,
                                 2017, the court in the Underlying Action issued a Protective Order
                                                                                                                      i
 13
 13 precluding discovery into Plaintiff's
                              Plaintiffs private financial information which included Plaintiff's
                                                                                      Plaintiff’s personal
 14
 14 accounts,
    accounts, as well as her joint accounts with Baldo Kristovich or any other party not related to the Trust.
                                                                                                        Trust.
15
15             12.
               12.    On October 25,2017,the court in the Underlying Action issued another Order
                                 25,2017,
16
16 precluding discovery into Plaintiff's
                             Plaintiffs personal bank accounts.
                                                      accounts.
17
17             13.
               13.    On February 7,
                                  7, 2018,
                                     2018, Maria's
                                           Maria’s counsel issued deposition subpoenas for the production of          !
18
18 business records to non-party,
                       non-party, BANA.
                                  BANA. Among other things,
                                                    things, the subpoenas specifically requested
19
19 documents from Plaintiff's
                  Plaintiffs accounts,
                              accounts, which were not discoverable under
                                                                    imder the October 25,
                                                                                      25, 2017 Order.
                                                                                               Order.
20            14.
               14.   Notwithstanding Defendant's
                                     Defendant’s receipt of the Protective Order and the court's
                                                                                         court’s October 25,
                                                                                                         25,
21
21 2017 Order,
        Order, on March 15,2018,Defendant produced 4024 pages of Plaintiff's
                        15,2018,                                 Plaintiff s detailed financial
22 records including records relating to seven of Plaintiff's
                                                  Plaintiff s personal bank accounts.
                                                                            accounts. Maria's
                                                                                      Maria’s counsel did
23 not contact BANA or Plaintiffs counsel regarding the production.
                                                        production. Instead,
                                                                    Instead, Maria's
                                                                             Maria’s counsel provided
24 Plaintiff's
   Plaintiffs private and confidential financial information to Maria and her experts in the Underlying
                                                                                         the^nderlying
25 Action so that they could evaluate and exploit the information to Plaintiff's
                                                                     Plaintiffs detriment.
                                                                                 detriment. Plaintiff is
26 informed
   informed and believes,
                believes, and based thereon alleges,
                                            alleges, that Maria disseminated Plaintiff's
                                                                             Plaintiffs private financial
27 information to her sister,
                      sister, Madeline Thomas("Madeline"),
                                             (“Madeline”), and other individuals listed below.
                                                                                        below. Upon
28

                                                          2
                                                     COMPLAINT
                                                     COMPLArNT                                                    I
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     11 information and belief,
                        belief, Madeline funded the Underlying Action for Maria because she was upset that
                                                                                                                   !
     2 Baldo Kristovich disinherited Madeline.
                                     Madeline. ■
     3          15.
                15.   Twomonths
                      Two monthsafter
                                afterthe
                                      theunauthorized
                                         unauthorizedproduction,
                                                      production,Maria’s
                                                                 Maria'scounsel
                                                                         counselnotified
                                                                                notifiedPlaintiffs
                                                                                         Plaintiff's               :

     4 counsel of the production.
                      production. Plaintiff's
                                  Plaintiffs counsel promptly sought to unwind Defendant's
                                                                               Defendant’s egregious error,
                                                                                                     error,
     5 but by then the damage had already been done.
                                               done. Defendant delivered over 4000 pages of Plaintiff's
                                                                                            Plaintiff s
     6 personal financial records to the very people who should never possession of Plaintiff's
                                                                                    Plaintiff s personal and
  7 confidential financial information.
                           information.
     8         16.
               16.     Armed with Plaintiff's
                                  Plaintiffs personal financial information,
                                                                information, Maria appeared at BANA's
                                                                                               BANA’s La
  9 Verne branch on June 21,
                         21, 2018 to seek various financial records.
                                                            records. Plaintiff is informed and believes,
                                                                                               believes,
10
10 and based thereon alleges,
                     alleges, that Maria used the information wrongfully provided to her by BANA and
11
11 her father's
       father’s death certificate to "red
                                     “red heart"
                                          heart” several of Plaintiff's
                                                            Plaintiff’s private BANA accounts including at
                                                                                                               ;
12
12 least two personal accounts,
                      accounts, her own personal trust account,
                                                       account, and a safety deposit box.
                                                                                     box. An account is
13
13 "red
   “red hearted"
        hearted” when it is frozen due to a death and/or dispute relating to the account.
                                                                                 account.
14
14             17.
               17.    BANA's
                      BANA’s bungling incompetence can only be described as a comedy of errors.
                                                                                        errors. BANA           i


15
15 neglected the court's
                 court’s discovery and protective orders,
                                                  orders, it produced thousands of pages of private and
16
16 confidential financial records that have nothing to do with the Underlying Action and that no               1


17
17 reasonable financial institution would release,
                                          release, and then it froze Plaintiff's
                                                                     Plaintiffs accounts based on the
18
18 information it wrongfully produced to Maria and her attorneys.
                                                       attorneys.
19
19             18.
               18.    On or about June 26,2018,Plaintiffs sister,
                                       26,2018,           sister, Gina Pilloud ("Gina"),
                                                                               (“Gina”), called Plaintiff
20 regarding a discussion she had with Madeline.
                                       Madeline. Gina relayed that Madeline wants Plaintiff "out
                                                                                            “out on the
21
21 street"
   street” and
           md that they [/. e.,
                            e., Madeline and Maria]
                                             Maria] now have Plaintiff's
                                                             Plaintiff’s bank account numbers,
                                                                                      numbers, social
22 security number,
            number, and passwords and that they intend to "screw"
                                                          “screw” Plaintiff with that information.
                                                                                      information.
23            19.
              19.     Plaintiff promptly called BANA and was informed that several of her personal accounts
24 had been frozen.
            frozen. Upon information and belief,
                                         belief, the accounts were frozen based on information
25 provided to Maria by BANA.
                        BANA. By freezing the accounts BANA denied Plaintiff access to her own
26 accounts.
   accounts.
27
28
                                                         3
                                                    COMPLAINT
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     11         20.
                20.    On August 9,
                                 9, 2018, Maria’s counsel propounded written discovery that contained
                                    2018, Maria's
     2 information that could only have been obtained through the review of Plaintiff's
                                                                            Plaintiffs personal,
                                                                                        personal, confidential
     3 financial information.
                 information. Then on August 14,
                                             14, 2018,
                                                 2018, Maria's
                                                       Maria’s counsel issued more subpoenas to BANA
                                                                                                                      :
                                                                                                                      ■
     4 seeking records from Plaintiff's        accounts, which Maria now had significant access to due to
                            Plaintiffs private accounts,                                                              i
                                                                                                                      !
     5 Defendant's
       Defendant’s data breach.
                        breach. The new round of discovery and subpoenas forced Plaintiff's
                                                                                Plaintiffs counsel in the
     6 Underlying Action to file a motion to quash the subpoenas,
                                                       subpoenas, for a protective order,
                                                                                   order, and for a stay of
  7 discovery pending clarification of the court's
                                           court’s orders and for monetary sanctions (the
                                                                                     (the "Motion
                                                                                          “Motion to
     8 Quash").
       Quash”).
  9            21.
               21.     On January 16,2019,the court in the Underlying Action considered the Motion to
                                  16,2019,
 10
 10 Quash and found and held the following:
                                 following:
 11
 11                    — [Maria]                        [BANA’s] improperly produced documents despite
                          [Maria] used information from [BANA's]
                       purportedly returning the documents to BANA;
                                                              BANA;
 12
 12
                       — [Maria']
                          [Maria’] counsel appears to have recognized the potential seriousness of the
 13
 13                    improper production..."
                                production..
14
14                        [Maria’s] counsel does not explain why her counsel did not also immediately instruct
                      — [Maria's)
                      her consultant of the improper nature of the production,
                                                                   production, to stop further review and to
15
15                                                             documents. [Maria]
                      disregard the contents of the produced documents.    [Maria] instead used information her   1
                      consultant obtained in his or her review of these documents to propound discovery on
16
16                    [Plaintiff]
                      [Plaintifi] and to seek additional information regarding [Plaintiff's]
                                                                               [Plaintiffs] finances.
                                                                                             finances.
17
17                    — ...a
                         .. .a review of the [wrongfully]
                                             [wrongfully] produced documents should have indicated that they
                      were inadvertently produced and not to be examined or otherwise used by [Maria].
                                                                                               [Maria].
18
18
                      — [T]he
                         [T]he Court finds that it was an abuse of the discovery process and a violation of the
19
19                    Court's
                      Court’s October 25,
                                      25, 2017 protective order for [Maria]
                                                                     [Maria] to use documents and
                      information from BANA's
                                       BANA’s production after [Plaintiff]
                                                                   [Plaintiff] identified them as having been
20                    improperly produced.
                                 produced.
21
21                    — The Court...            [Maria] to disclose the name of the consultant who reviewed
                              Court... ORDERS [Maria]
                      the disclosures and DISQUALIFIES the use of this consultant in this matter.
                                                                                            matter. The Court
22                    further ISSUES
                              ISSUES an evidentiary sanction against the use of any materials or information
                      obtained from the improper disclosure of [Plaintiff's]
                                                               [Plaintiffs] personal financial records.
                                                                                               records.
23
                            Court... GRANTS [Plaintiff]
                      — The Court...        [Plaintiff] monetary sanctions in the amount of $24,120.
                                                                                            $24,120.
24
25            22.
              22.     Maria has submitted to the court in the Underlying Action a Request for Dismissal.
                                                                                              Dismissal.
26            23.
              23.     Plaintiffpersonally
                      Plaintiff personally spent
                                           spentdozens
                                                 dozens of
                                                        ofhours
                                                           hours on
                                                                 on the
                                                                    thetelephone
                                                                        telephone and
                                                                                  and at
                                                                                      atBANA
                                                                                         BANA branches
                                                                                              branches
27 trying to mitigate her damages from the wrongful disclosure of her private,
                                                                      private, confidential information.
                                                                                            information.
28
                                                          4
                                                    COMPLAINT
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     11 Plaintiff also spent dozens of hours trying to unwind the wrongful freezing of her accounts by BANA.
                                                                                                       BANA.
     2 To her great consternation,
                    consternation, aggravation,
                                   aggravation, embarrassment,
                                                embarrassment, and humiliation,
                                                                   humiliation, BANA locked Plaintiff out
     3 of her own accounts,
                  accounts, failed to provide access to the accounts,
                                                            accounts, and to add insult to injury gave Plaintiff
     4 a complete run-around when Plaintiff tried to clear up BANA's
                                                              BANA’s repeated errors.
                                                                              errors.
     5          24.
                24.     Plaintiffalso
                       Plaintiff  alsoincurred
                                       incurredsignificant
                                                significantattorney’s
                                                            attorney'sfees
                                                                       feesand
                                                                            andcosts
                                                                                costsin
                                                                                      inconnection
                                                                                         connectionvnth
                                                                                                    withher
                                                                                                         her
     6 attorney's
       attorney’s efforts to correct BANA's
                                     BANA’s wrongful disclosure of personal,
                                                                   personal, private,
                                                                             private, and confidential
     7 information.
       information.
     8         25.
               25.      As a direct and proximate result of Defendant's
                                                            Defendant’s wrongful actions and breaches,
                                                                                             breaches, Plaintiff
  9 has been damaged in at least the sum of $500,000,
                                            $500,000, with the exact amount to be proven at time of trial.
                                                                                                    trial.
                                                                                                                   !
 10
 10                                             FIRST CAUSE OF ACTION
 11
 11                    [For
                       [For Breach of Contract Against Defendant(Seven
                                                                (Seven BANA Accounts)]
                                                                            Accounts)]
 12
 12            26.
               26.     Plaintiff repeats and incorporates herein by reference the allegations set forth above as   i


 13
 13 though fully
           fiilly set forth herein.
                            herein.
 14
 14            27.
               27.     Between 1985
                               1985 and October 2015,
                                                2015, Plaintiff entered into seven agreements for personal,
                                                                                                  personal,
 15
 15 trust,
    trust, and safety deposit box accounts with Defendant (collectively,
                                                          (collectively, the "Kristovich
                                                                             “Kristovich Accounts").
                                                                                         Accounts”).
16
16 Among other things,
               things, these agreements provided that:
                                                 that:
17
17                     — Defendant would open and maintain for Plaintiff account numbers ending in (i)
                                                                                                   (i)
18
18                     XXXX,
                       XXXX, (ii)
                             (ii) XXXX,
                                  XXXX, (iii)
                                        (iii) XKKX,
                                              XXXX, (iv)
                                                    (iv) XDO(X,
                                                         XXXX, (v)
                                                               (v) XXXX,
                                                                   XXXX, (vi)
                                                                         (vi) X1)0(X,
                                                                              XXXX, and (vii)
                                                                                        (vii)
19
19                     )0000;
                       XXXX*;
20                     — Defendant agreed to keep Plaintiff's
                                                  Plaintiffs money and assets safe and available for
21
21                     Plaintiff's
                       Plaintiffs use and/or withdrawal;
                                             withdrawal;
22                     — Plaintiff agreed that these accounts were,
                                                              were, among other things,
                                                                                things, subject to fees and
23                     other uses.
                             uses.
24            28:
              28.’    Implied in Plaintiff's
                                 Plaintiffs agreements with Defendant,
                                                            Defendant, to California law and Article I,
                                                                                                     I, §1
                                                                                                        § 1 of
25 the California Constitution,
                  Constitution, Defendant took upon itself certain obligations and duties to Plaintiff.
                                                                                             Plaintiff.
26

27 '
   1
     To protect Plaintiff's
                Plaintiffs privacy,
                            privacy, the listed account numbers have been removed.
                                                                          removed.
28
                                                                5
                                                         COMPLAINT
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     1       29.
             29.     Plaintiff had an inalienable right to privacy with respect to her confidential financial
  2 affairs with Defendant.
                 Defendant.                      - .      •
     33      30.
             30.    Plaintiff had a reasonable expectation of privacy with respect to her financial
  4 information in Defendant's possession, and it was understood that her banking information would be
                   Defendant’s possession,
  5 utilized by Defendant for internal banking purposes only.
                                                        only.                                                   I


  6          31.
             31.              impliedlyagreed
                    Defendantimpliedly
                    Defendant           agreednot
                                              notto
                                                  todivulge
                                                    divulgePlaintiff
                                                            Plaintiff's confidentialinformation
                                                                     s confidential  informationwithout
                                                                                                without
  7 Plaintiff's
    Plaintiff’s consent.
                consent.
  8          32.
             32.    Notwithstanding such agreement,
                                         agreement, on March 15,2018,Defendant without Plaintiff's
                                                             15,2018,                  Plaintiffs
  9 consent and without any notice and in direct contravention of the court's
                                                                      court’s orders,
                                                                              orders, disseminated over
                                                                                                                i
                                                                                                                :
 10 4000 pages of Plaintiff's
 10               Plaintiff s personal,
                              personal, private,                                           Maria, Madeline,
                                        private, and confidential financial information to Maria, Madeline,
11        Reynoso, Evan Owen Thomas III,
11 Manuel Reynoso,                  HI, Lauriann Wright,
                                                 Wright, Jerald Andrew Douglas,
                                                                       Douglas, David Kim,
                                                                                      Kim,
                                                                                                                i
12
12 Maria's
   Maria’s consultants/experts in the Underlying Action,
                                                 Action, and to other unknown third parties.
                                                                                    parties.
13
13          33.
            33.     The personal,
                        personal, private,
                                  private, and confidential information wrongfully disseminated by
14
14 Defendant to third persons was used against Plaintiff in the Underlying Action.
                                                                           Action. Indeed,
                                                                                   Indeed, the
15
15 unauthorized release of the personal, private, and confidential information resulted in unauthorized
                               personal, private,
16
16 discovery,         motion, letters,
   discovery, law and motion, letters, telephone calls,
                                                 calls, and hearings that caused Plaintiff to incur
17
17 significant attorney's
               attorney’s fees and costs.
                                   costs.
18
18          34.
            34.     Plaintiff performed all conditions of her agreements with Defendant.
                                                                              Defendant.
19
19          35.
            35.     As
                    Asaa direct and proximate result of Defendant's          conduct. Plaintiff incurred at
                                                        Defendant’s wrongful conduct,
20 least $100,000 in attorney's
                     attorney’s fees.
                                fees.
21
21          36.
            36.     The foregoing agreements directly affected Plaintiff's
                                                               Plaintiffs personal welfare including her
                          security. It was foreseeable that the breach of these agreements would likely
22 personal and financial security.
                             Plaintiffs serious emotional distress in connection with the dissemination of
23 and in fact did result in Plaintiff's
24 her personal, private, and confidential financial information.
       personal, private,                            infonnation. As a direct and proximate result of
25 Defendant's          conduct. Plaintiff suffered anguish,
   Defendant’s wrongful conduct,                    anguish, fear,
                                                             fear, nervousness,
                                                                   nervousness, grief,
                                                                                grief, anxiety,
                                                                                       anxiety, worry,
                                                                                                worry,
26 shock,
   shock, humiliation,
          humiliation, embarrassment,
                       embarrassment, and shame.
                                          shame.
27                                      SECOND CAUSE OF ACTION
28
                                                           6
                                                       COMPLAINT
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                                                                                                                       I
     1                                  [For Negligence Against Defendant]
                                        [For                    Defendant]
     2         37.
               37.     Plaintiff repeats and incorporates herein by reference the allegations set forth above as
                                                                                                                       i

     3 though fully set forth herein.
                              herein.                                                                                  !

  4L           38.
               38.                  mentioned, Defendant had an affirmative duty to protect Plaintiff's
                       At all times mentioned,                                              Plaintiffs
                                                                                                                       I
                                                              Specifically, Defendant had a duty to maintain
                                                     affairs. Specifically,
  5 Constitutional right to privacy in her financial affairs.
                                                                                                                       i
                                                                                     19, 2017 Protective
                   Plaintiff s personal accounts by receiving and processing the May 19,
  6 the privacy of Plaintiff's
                          25, 2017 Order prohibiting the production of Plaintiff's
  7 Order and the October 25,                                                      personal, private,
                                                                       Plaintiffs personal,  private, and
                                                this. Defendant further had a duty
                 accounts. Defendant did not do this.
  8 confidential accounts.                                                    duly to conduct due
                                                                            financial records.
  9 diligence in its response to overbroad deposition subpoenas for private fmancial  records. This includes
                                                                         personal, private,
10 the duty to contact Plaintiff regarding the requests for thousands of personal,
10                                                                                 private, and confidential
 11
 11 financial documents.
              documents.                                                                                               i


12
12             39.
               39.    On March 15,2018,Defendant breached its duties to Plaintiff by engaging in the
                               15,2018,
13
13 negligent,           careless, reckless,
              wrongful,careless,
   negligent, wrongful,                                                        above. Specifically,
                                  reckless, and unreasonable conduct described above. Specifically,
14                                  Plaintiff s detailed financial records including records relating to
14 Defendant produced 4024 pages of Plaintiff's
            Plaintiff s personal bank accounts.
15 seven of Plaintiffs
15                                              Defendant’s dissemination of Plaintiff's
                                      accounts. Defendant's                  Plaintiffs personal,
                                                                                         personal, private,
                                                                                                   private,        ]



                                                                negligent. Plaintiff is informed
16 and confidential financial records was egregious and grossly negligent.
16                                                                                      informed and
17
17 believes,
   believes, and based thereon alleges,                               Plaintiffs BANA file would have
                               alleges, that even a cursory review of Plaintiff's
18 reflected the existence of a Protective Order and an Order precluding the production of the very
18                                                                                                                 i

19 documents that BANA handed to Maria and made public to Madeline,
19                                                        Madeline, Manuel Reynoso,
                                                                           Reynoso, Evan Owen
          HI, Lauriann Wright,
20 Thomas III,                               Douglas, David Kim,
                       Wright, Jerald Andrew Douglas,       Kim, Maria's
                                                                 Maria’s consultants/experts in the
21 Underlying Action,
              Action, and to other unknown third parties.
                                                 parties.
22            40.
              40.     Defendant knew or should have known that its failure to maintain the privacy of
23 Plaintiff's
   Plaintiffs personal,  private, and confidential financial information would result in substantial damages
               personal, private,                                                                                  i

24 to Plaintiff.
      Plaintiff.
25            41.
              41.     Asaa direct and proximate result of Defendant's
                      As                                  Defendant’s negligence,
                                                                      negligence, carelessness,
                                                                                  carelessness, and grossly
                                                                               $500,000, with the exact
                conduct, Plaintiff has suffered damages in at least the sum of $500,000,
26 unreasonable conduct,
27 amount to be proven at time of trial.
                                  trial.
28
                                                           7
                                                     COMPLAINT
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     1           42.
                 42.    As a further direct and proximate result of Defendant's
                                                                    Defendant’s negligent conduct alleged
     2 herein,
       herein, Plaintiff has suffered serious emotional distress.
                                                        distress. Plaintiff is a retired jurist that carefully guards
                                                                                                                                i
     3 her personal and physical safety.
                                 safety. Defendant's
                                         Defendant’s data breach,
                                                          breach, which resulted in the disclosure of her
     4
     I finances,
       finances, her social security number,
                                     number, and other identifying information to known and as yet unknown
     5 third persons has caused Plaintiff to suffer anguish,
                                                    anguish, fear,
                                                             fear, nervousness,
                                                                   nervousness, grief,
                                                                                grief^ anxiety,
                                                                                       anxiety, worry,
                                                                                                worry, shock,
                                                                                                       shock,
     6 humiliation,
       humiliation, embarrassment,
                    embarrassment, and shame.
                                       shame. Indeed,
                                              Indeed, Plaintiff has been informed that Madeline and Maria
                                                                                                                            I
     7 intend to "screw"
                 “screw” Plaintiff after gaining access to passwords,
                                                           passwords, financial data,
                                                                                data, and personal identifying              !
                                                                                                                            !
     8 information.
       information. Plaintiff takes these threats seriously considering their conduct vis-à-vis
                                                                                      vis-^-vis the Underlying
     9 Action.
       Action.
 10
 10             43.
                43.     Defendant's
                        Defendant’s negligence was a substantial factor in causing Plaintiff's
                                                                                   Plaintiff’s serious emotional
 11
 11 distress.
    distress.
                                                                                                                            :
 12
 12                                          THIRD CAUSE OF ACTION
 13
 13              [For
                 [For Invasion of Privacy —
                                          - Public Disclosure of Private Facts Against Defendant]
                                                                                       Defendant]
14
14              44.
                44.    Plaintiff repeats and incorporates herein by reference the allegations set forth above as
15
15 though fully set forth herein.
                          herein.
16
16             45.
               45.     As alleged above,
                                  above, on March 15,
                                                  15, 2018,
                                                      2018, Defendant distributed Plaintiff's
                                                                                  Plaintiffs personal,
                                                                                              personal,
17
17 private,
   private, and confidential financial information to Maria and her attorneys.
                                                                    attorneys. Maria distributed Plaintiff
                                                                                                 Plaintiffss
18
18 private information to Madeline.
                          Madeline. Plaintiff is informed and believes,
                                                              believes, and based thereon alleges,
                                                                                          alleges, that
19 Maria and Madeline distributed Plaintiff's
19                                Plaintiff’s information to Manuel Reynoso and Evan Owen Thomas
20 III.
   m. Plaintiff is further informed,
                           informed, and believes,
                                         believes, and based thereon alleges,
                                                                     alleges, that Plaintiff's
                                                                                   Plaintiff’s financial
21
21 information was distributed by defendant DOES 1 through 20.
                                                           20.
22             46.
               46.     The facts about Plaintiffs
                                       Plaintiff’s personal,
                                                   personal, private,
                                                             private, and confidential financial information were
23 private
    )rivate facts that Plaintiff desired to keep private.
                                                 private.
24             47.
               47.     The disclosure by Defendant of the above information was offensive and objectionable
25 to Plaintiff,
      Plaintiff, as well as to a reasonable person of ordinary sensibility,
                                                               sensibility, in that the information disclosed
26 personal financial information,
                      information, passwords,
                                   passwords, and personal identifying information.
                                                                       information.
27
28

                                                           8
                                                       COMPLAINT
                                                       COMPLAINT
                                                                                                                        !
 Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 13 of 49 Page ID #:18




     11         48.
                48.     The personal, private, and confidential financial information disclosed by Defendant
                            personal, private,
     2 was not of legitimate public concern or newsworthy,
                                               newsworthy, and was not disclosed for such a purpose.
                                                                                            purpose. The
     3 disclosure of the information did not bear any logical relationship to any newsworthy subject or
     4 broadcast,
       broadcast, and was intrusive in great proportion to any relevance it might have.
                                                                                  have.                                i

     5          49.
                49.     As a direct and proximate result of Defendant's
                                                            Defendant’s conduct,
                                                                        conduct, Plaintiff has suffered damages.
                                                                                                        damages.
     6 Plaintiff is a retired judge and is subject to financial and physical danger.
                                                                             danger. Plaintiff seeks general and
                                                                                                                       i
  7 special damages,
            damages, which include but are not limited to amounts to secure the safety of her family and
  8 investigation expenses,
                  expenses, in an amount according to proof.
                                                      proof.
  9             50.
                50.    As a further direct and proximate result of Defendant's
                                                                   Defendant’s negligent conduct alleged
10
10 herein,                                          distress. Plaintiff is a retired judge that carefully
   herein, Plaintiff has suffered serious emotional distress.
11
11 guards her personal and physical safety.
                                    safety. Defendant's
                                            Defendant’s data breach,
                                                             breach, which resulted in the disclosure of
12
12 her finances,
       finances, her social security number,
                                     number, and other identifying information to known and as yet
13
13 unknown third persons has caused Plaintiff to suffer anguish,
                                                        anguish, fear,
                                                                 fear, nervousness,
                                                                       nervousness, grief,
                                                                                    grief, anxiety,
                                                                                           anxiety, worry,
                                                                                                    worry,
14
14 shock,
   shock, humiliation,
          humiliation, embarrassment,
                       embarrassment, and shame.
                                          shame. Indeed,
                                                 Indeed, Plaintiff has been informed that Madeline and
15
15 Maria intend to "screw"
                   “screw” Plaintiff after gaining access to passwords,
                                                             passwords, financial data,
                                                                                  data, and personal
16
16 identifying information.
               information. Plaintiff takes these threats seriously considering their conduct vis-a-vis
                                                                                              vis-i-vis the        I

17
17 Underlying Action.
              Action.
18
18             5l.
               51.     In making the disclosures described above,
                                                           above. Defendant is guilty of oppression,
                                                                                         oppression, fraud,
                                                                                                     fi-aud, or
19
19 malice in that it made the disclosures with knowledge that it would endanger Plaintiff's
                                                                                Plaintiffs financial and
20 physical safety.
            safety. Plaintiff therefore seeks an award of punitive damages.
                                                                   damages.
21
21                                         FOURTH CAUSE OF ACTION
22             [For
               [For Invasion of Privacy (Article
                                        (Article 1,
                                                 1, §1
                                                    §1 California Constitution)
                                                                  Constitution) Against Defendant]
                                                                                        Defendant]
23             52.
               52.     Plaintiff repeats and incorporates herein by reference the allegations set forth above as
24 though fully set forth herein.
                          herein.
25             53.
               53.     Article 1,
                               1, §1
                                  §1 of the California Constitution provides:
                                                                    provides:
26                    All people are by nature free and independent and have certain inalienable
                      rights.
                      rights. Among these
                                      4ese are enjoying and defending life and liberty,
                                                                               liberty,
27                    acquiring,
                      acquiring, possessing,
                                 possessing, and protecting property,
                                                            property, and pursuing and obtaining
                      safety,
                      safety, happiness,
                              happiness, and privacy.
                                             privacy.
28
                                                          9
                                                      COMPLAINT
                                                      COMPLAINT
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     1
                   54.
                   54.     Plaintiff’s bank records are private,
                           Plaintiff's                  private, confidential information and as such Plaintiff is
     2
           entitled to a right of privacy in these records,
                                                   records, an "inalienable right” protected by force of Constitutional
                                                               “inalienable right"
     3
           mandate.
           mandate. Indeed,
                    Indeed, Plaintiff had a "reasonable
                                            “reasonable expectation of privacy"
                                                                       privacy” with respect to the financial
     4L
           information that Plaintiff disclosed to BANA.
                                                   BANA.
     5
                  55.
                  55.      Defendant disclosed Plaintiff's
                                               Plaintiffs purely personal, private, and confidential financial
                                                                 personal, private,                                           I
     6
           information and bank records (i.e.,
                                        (i.e., not available to the public)
                                                                    public) to Maria,
                                                                               Maria, Madeline,
                                                                                      Madeline, Manuel Reynoso,
                                                                                                       Reynoso,               i
 7
           Evan Owen Thomas III,
                            III, Lauriann Wright,
                                          Wright, Jerald Andrew Douglas,
                                                                Douglas, David Kim,
                                                                               Kim, Maria's
                                                                                    Maria’s
 8
           consultants/experts in the Underlying Action,
                                                 Action, and to other unknown third parties.
                                                                                    parties.
 9
                  56.
                  56.     A reasonable person in Plaintiff's
                                                 Plaintiffs position would consider the publicity of his or her
10
10
          personal,
          personal, private,
                    private, and confidential financial and identifying information highly offensive.
                                                                                           offensive.
11
11
                  57.
                  57.     The disclosure of Plaintiff's
                                            Plaintiff s personal,
                                                        personal, private,
                                                                  private, and confidential financial records was not
12
12                                                                                                                        !
          a matter of legitimate public concern.
                                        concern.                                                                          :
13
13
                  58.
                  58.     Defendant knew that Plaintiff's
                                              Plaintiffs financial and personal records were private and showed
14
14
          reckless disregard for Plaintiff's
                                 Plaintiffs privacy by disseminating the information to public persons.
                                                                                               persons.
15
15
                  59.
                  59.     Defendant's
                          Defendant’s conduct caused Plaintiff great harm.
                                                                     harm. Defendant disseminated Plaintiff's
                                                                                                  Plaintiffs
16
16
          personal,
          personal, private,
                    private, and confidential information,
                                              information, which was subject to a Protective Order and another
17
17                                                                                                                        :
          court Order.
                Order. Plaintiff incurred thousands of dollars in attorney's
                                                                  attorney’s fees and costs obtaining orders
18
18
          precluding the use of Plaintiff's
                                Plaintiff s personal financial records in the Underlying Action and in attempting
19
19
          to limit the further dissemination of her personal and financial information.
                                                                           information.
20
                  60.
                  60.     As a further direct and proximate result of Defendant's
                                                                      Defendant’s negligent conduct alleged
21
21
          herein,                                          distress. Plaintiff is a retired judge that carefully
          herein, Plaintiff has suffered serious emotional distress.
22
          guards her personal and physical safety.
                                           safety. Defendant's
                                                   Defendant’s data breach,
                                                                    breach, which resulted in the disclosure of
23
          her finances,
              finances, her social security number,
                                            number, and other identifying information to known and as yet
24
          unknown third persons has caused Plaintiffto suffer anguish,
                                                              anguish, fear,
                                                                       fear, nervousness,
                                                                             nervousness, grief,
                                                                                          grief, anxiety,
                                                                                                 anxiety, worry,
                                                                                                          worry,
25
          shock,
          shock, humiliation,
                 humiliation, embarrassment,
                              embarrassment, and shame. Indeed, Plaintiff has been informed that Madeline and
                                                 shame. Indeed,
26
          Maria
          vlaria intend to "screw"
                           “screw” Plaintiff after gaining access to passwords,
                                                                     passwords, financial data,
                                                                                          data, and personal
27
28
                                                              10
                                                              10
                                                          COMPLAINT
Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 15 of 49 Page ID #:20


                                                                                                                  !

               infomiation. Plaintiff takes these threats seriously considering their conduct vis-à-vis
 1 identifying information.                                                                   vis-i-vis the
 2 Underlying Action.
              Action.
 3          61.
            61.                             alleged, Defendant acted with oppression,
                   In doing the acts herein alleged,                                  fraud, and malice,
                                                                          oppression, fraud,     malice,
 4 and Plaintiff is therefore entitled to an award of punitive damages in an amount sufficient to punish
 5 and make an example of Defendant.
                          Defendant.
                                                                                                              !
 6          WHEREFORE,
            WHEREFORE, Plaintiff prays for relief as follows:
                                                     follows:
 7         1.
           1.                                                   proof, but in at least the sum of $500,000;
                   For special and general damages according to proof,                            $500,000;   I


 8         2.
           2.      For punitive damages according to proof;
                                                     proof;                                                   :
                                                                                                              i

 9         3.
           3.      For costs of suit and all other recoverable costs as authorized by law;
                                                                                      law; and
10
10         4.
           4.      For such other and further relief as the Court deems just and proper.
                                                                                 proper.
                                                                                                              I
11
11
12
12 Dated:      3, 2019
   Dated: June 3,                                        JOHNSON && JOHNSON LLP
13
13                                                                                                            i
                                                                                                              !
                                                                                                              s
14
14
                                                 By:
                                                 By:
15
15                                                       Neville L.
                                                                 L. Johnson
                                                         Robert Paredes
16
16                                                       Attorneys for Plaintiffs                             !

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                                                 COMPLAINT
 Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 16 of 49 Page ID #:21




 1                                   DEMAND FOR JURY TRIAL
 2        Plaintiff hereby demands a trial byjury.
                                             jury. .
                                                                                         t

 3                                                                                       I



 4 Dated:
   Dated: June 3,
               3, 2019                                 JOHNSON && JOHNSON LLP            I
                                                                                        j

 5
 6
                                              By:
                                              By:
 7                                                     Nevi           son
                                                       NeviRe^w-Jk^Snson
                                                       Robert Paredes
 8                                                     Attorneys for Plaintiffs
 9
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11                                                                                      :1
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                                              COMPLAINT

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Electronically FILED by Superior Court of California,                          06/03/20li%8Sf@^fVgf?tyrri It
                                          California, County of Los Angeles on 06/03/201M2E(Mtplyrri      R. Carter,
                                                                                                             Carter, Executive Officer/Clerk
                                                                                                                               Offlcer/Clerk of Court,
                                                                                                                                                Court, by R. Cllfton,Oeputy Clerk
                                                                                                                                                          R. Clifton,Deputy Clerlt
              Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 17 of 49 Page ID #:22
                                                                                                                                                                                     CM -010
                                                                                                                                                                                     CM^IO
                ATTORNEY OR PARTY VOTHOOTJJTO_RNEY Nemo Slate
               _A^ORff^YORPARgy^ViflTM^^^j^^l^Y^/Vame,        Ssr numbers and
                                                        Slfl’eSarnumfier.     actiress):
                                                                          anOetklKss):                                                              FOR COURT USE
                                                                                                                                                              use ONLY
              — Neville L.Johnson(SBN 66329)
                Robert Paredes(SBN
                                (SBN 255329)
                                     255329)
               Johnson && Johnson LLP439 N.N. Canon Dr.,
                                                    Dr., Suite 200
                        Hills, CA,
                Beverly Hills, CA, 90210
                        TELEPHONE NO.: 310-975-1080
                        TELEPliCelE NO.:                        FAX NO.: 310-975-1095
                                                                FAXNO.;  310-975-1095
                 ATTORNEY FOR
                 ATTORNEY FOR(Nane):
                              (Name):Plaintiffs,
                                     Plaiiitiffs, Marlene
                                                  M^lcnc Kristovich
                                                          Kristovich et et al.
                                                                            al.
              SUPERIORCOURT        CAUFORNIA, COUNTY OF Los
              SUPERIOR COURT OF CAUFORNIA,               LoS Angeles
                                                             AugelcS .    .
                  STREET  AOORESS: IH
                  STREET ADDRESS:     I 11 N.
                                           N. Hill
                                              Hill St.
                                                   St.
                          ADDRESS: 111
                  MAILINGAOORESS;
                  MAILING           1 1 1 N.
                                           N. Hill
                                              Hill St.
                                                   St.
                 CITY AND
                 CrTY AND ZIP CODE: Los
                          ZIP CODE: Los Angeles
                                           Aiigeles 90012
                                                    90012
                              NAME: Stanley
                     BRANCH NAME:   Stauley Mosk Courthouse
                 CASE NAME:
                      NAME:
                 Marlene
                 Marlene Kristovich
                         Kristovich et
                                    et al.
                                       al. v.
                                           v. Bank
                                              Bank of
                                                   of America
                                                      America
                                                                                                                           CASE NUMBER:
                                                                                                                                  NUMBER:
                    CIVIL CASE
                           CASE COVERCOVER SHEET   SHEET                       Complex Case Designation
              I=1
               I / I Unlimited           0I     I Limited
                     (Amount
                     (Amount                      (Amount
                                                   (Amount                  El ] Counter          n      Joinder
                                                                                                                            JUDGE:
                                                                                                                            JUDGE;
                     demanded                      demanded is            Filed with first appearance by defendant
                     exceeds $25,000)
                               $25,000}            $25,000 or less)
                                                               less)          (Cal.             Court, rule 3.402)
                                                                              (Cal. Rules of Court,         3.402)           DEPT:
                                                                                                                             DEPT;

                                                      Items
                                                       Hems 1-6
                                                             f--6 below must be completed(see    (soe instructions on page 2).2).                                                                    i
              1.
              1. Check one box below for the case type that best describes this case:         case:
                  Auto Tort                                               entreat
                                                                      ^wtract                                       Provisionally Complex Civil Litigation
                                                                                                                                             rules 3.400-3403)                                       :
                   _ Auto (22)
                             (22)                                                                           (08) (Cal.Rules of
                                                                               Breach of contract/warranty (08)                  of Court,
                                                                                                                                     Court,rules     3.40(^3403)
                      I Uninsured   motorist (46)
                                               (46)                     I   I  Rule 3.740  collections (09)
                                                                                                       (09)               AntJtrust^rade
                                                                                                                          Antltrust/Trade    regulation   (03)
                                                                                                                                                          (03)
                  Other PIIPDIWD
                        PI/PD/WD (Personal
                                    (Personal InJury/Property
                                                  Injury/Property         ^ Other
                                                                               Olher collections (09)
                                                                                                  (09)             Cj Construction defect(10)      (10)
                  Damage/Wrongful
                  DamagefWrongful Death)
                                      Death) Tort                             1Insurance coverage(18)(18)                         tort(40)
                                                                                                                          Mass tort
                                                                                                                   f I Mass           (40)
                 1=1 Asbestos (04) (04)                                        Othercontract
                                                                       I 1 Other     contract(37)
                                                                                               (37)                El
                                                                                                                   I I Securities      litigation (28)
                                                                                                                          Securities litigation   (28)
                 I=1 Product liability
                                llabaily (24)
                                           (24)                        Real Property                               LJ Environmentat/Toxic
                                                                                                                          Environmental/Toxic tort  tori (30)
                                                                                                                                                         (30)
                   __ I Medical malpractice(45)
                 1=1                             (45)                  1=I     Eminentdomain/inverse
                                                                       I I Eminent      domain/Inverse             1=I
                                                                                                                   I    1 Insurance coverage claims arising from the
                   ^ Other PI/PD/WD
                 1=I          PI/PO/WD (23) (23)                       ___ condemnation (14)   (14)                       above listed provisionally complex case                                    !
                                                                       LJ     Wrongful
                                                                              VWongful   eviction (33)
                                                                                                  (33)                    types (41)
                                                                                                                                  (41)
                  Non-PIIPDIWD
                  Non-PI/PO/WD (Other)
                                  (Other) Tort
                 1=1              tort/unfair business practice(07)
                  —j Business torUunfalr                                       Otherreal
                                                                       I I Other
                                                                  (07) El            realproperty
                                                                                          property(26)
                                                                                                    (28)           Enforcement of Judgment
                  _] Civil rights (08)
                 I=1                (08)                               Unlawful Detainer                           1=1
                                                                                                                   I    I Enforcement of judgment (20)    (20)
                                                                                                                                                                                                     I
                 I=1I Defamation (13)(13)                              CI     Commercial(31)
                                                                       I I Commercial       (31)                   Miscellaneous Civil Complaint
                  Z] Fraud (16)
                 CI           (16)                                     CD Residential (32)
                                                                       I=1                 (32)                    CD RICO (27)
                                                                                                                  I=              (27)
                  El   Intellectual property (19)
                                             (19)                1=1     Drugs(38)
                                                                 I I Drugs      (38)                               I__ I Other complaint(not
                                                                                                                   El                       fnofspec^d      above; (42)
                                                                                                                                                 specified above)  (42)
                 I=1 Professional negligence (26) (26)           Judicial  Review
                                                                 Ju^clal Review                                                     Civil Petition
                                                                                                                   Miscellaneous civil
                  ^2 Other
                       other non-PI/PDAND
                              nor>-P!/PD/WD tort (35)
                                                   (35)          1=1
                                                                 LJ AssetAsset forfeiture
                                                                                forfeiture(05) (05)                I   I Partnership
                                                                                                                          Partnership and
                                                                                                                                       and corporate governance (21)(21)
                 Es_e
                   n .loyment
                  Employment                                     y Petition
                                                                         Petition re:
                                                                                   re: arbitration
                                                                                       arbitration award
                                                                                                      award (11)
                                                                                                            (11) □ Q      other petition fnof spec/ffed  above; (43)
                                                                                                                          Other petition (not specified above)(43)
                 LjI Wrongful termination
                                 temninalion (36)
                                              (36)                       Writof
                                                                 I__ I writ   ofmandate
                                                                                 mandate (02)  (02)
                 ED I Other
                       other employment (15)
                                           (15)______________    117:1   Otherjudicial
                                                                 I I Other      Judicialreview
                                                                                           review (39)__________________________________________
                                                                                                     (39)
             2. This case ULJis
             2.                    is    1_1_1
                                         I / I is not    complex under rule 3.400 of the California Rules of Court.        Court. If the case is complex,
                                                                                                                                                   complex, mark the
                factors requiring exceptional judicial management:
                                                        management;                          ___
                a.
                a. El
                   L J Large number of separately represented parties                  d. I   d.0 I Large  numberof
                                                                                                     Large number    ofwitnesses
                                                                                                                       witnesses
                b.
                b.0r  1  Extensive   motion  practice raising difficult or novel        e.ILI Coordination with related
                                                                                       e.  I      I Coordination  with  related actions
                                                                                                                                  actionspending
                                                                                                                                           pending in inone
                                                                                                                                                         oneorormore
                                                                                                                                                                 morecourts
                                                                                                                                                                        courts
                         issues
                         Issues that will be time-consuming to resolve                        ___InInother
                                                                                                       othercounties,
                                                                                                             counties,states,       countries,ororininaafederal
                                                                                                                        states,ororcountries,             federalcourt
                                                                                                                                                                  court
                  D.o
                c. I   I Substantial amount of documentary evidence                                I Substantial postjudgment judicial supervision
                                                                                        f. =Substantial
                                                                                        f.   I

            3.
            3.    Remedies sought(check
                                      (check all that apply): a.I / I monetary b.1-
                                                      apply): a.IT               b.l    1I nonmonetary;
                                                                                           nonmonetary; declaratory or injunctive relief                                c.
                                                                                                                                                                        c. ©punitive
                                                                                                                                                                           I / lounltive
            4.
            4.                                   (specify): 4
                  Number of causes of action (specify):     4
            5.
            5.    This case I      CI
                                   I Is   IT
                                          I / I is not a class action suit.
                                                                         suit.                        ___
            6.
            6.                                     cases, file and serve a notice of related case.
                  If there are any known related cases,                                           (
                                                                                              cas^cy'oi/^yay     form CM-015.)
                                                                                                                       CM-015.)
           Date: June
           Date: June 3,
                      3, 2019
                         2019
           Robert
           Robert Paredes
                  Paredes
                                                (TYPE
                                                (TYPE OR PRINT NAME)
                                                               NAME)
                                                                                                       ►               SiGNATU
                                                                                                                 '••~~(81CfRTURf.OF PARTY OR ATTORNEY FOR PARTY)
                                                                                                                                                          PARTY)
                                                                                     NOTICE                -------- '''
               •• Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                  under the Probate Code,              Code, or Welfare and Institutions Code).
                                        Code, Family Code,                                  Code). (Cal.
                                                                                                    (Cal. Rules of Court,
                                                                                                                       Court, rule 3.220.)
                                                                                                                                   3.220.) Failure to file may result
                  in sanctions.
                     sanctions.
              •• File this cover sheet in In addition to any cover sheet required by local court rule.
                                                                                                    rule.
              •• If this case is complex under rule 3.400 et seq.seq. of the California Rules of Court,
                                                                                                   Court you must serve a copy of this cover sheet on all
                  other parties to the action or proceeding.
                                                   proceeding.
              •• Unless this is a collections case under rule 3.740 or a complex case,  case, this cover sheet willwBI be used for statistical purposes only.
                                                                                                                                                                                     Panel of 2
            Form Adapted
                  Adoplod for Martdatory
                              Mandatory Use
                                          Uta                                                                                       Ce). Rules
                                                                                                                                    Cal. Riit«s of Court
                                                                                                                                                   CouA, naps
                                                                                                                                                         rubs 2.30.
                                                                                                                                                              2.30. 3220.   3.403-3.403 3.74tt
                                                                                                                                                                     a220.3.400-a403.3.740;
              Judicial
              Jutfdal Council of Celiforrda
                                 CeHfornle                              CIVIL CASE
                                                                              CASE COVER
                                                                                   COVER SHEET                                               Cal.
                                                                                                                                             Csl. Standards
                                                                                                                                                  Slandanlf of Judlettl
                                                                                                                                                               Judicial Admhastrallon,
                                                                                                                                                                        Adrrdntstration, std.
                                                                                                                                                                                         ttd. 3.10
               CM-010 (Rev.
                       [Rov. July 1, 20071
                                  1.20071                                                                                                                                  rnyw.couranfood.gov
                                                                                                                                                                           wmf.eouttMxca.gm
  Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 18 of 49 Page ID #:23
                                                                                                                                                                                CM-010
                                                                                                                                                                                CM   -010
                                                     INSTRUCTIONS ON
                                                    INSTRUCTIONS            ON HOWHOW TO COMPLETE  COMPLETE THE COVER        COVER SHEET
  To Plaintiffs and Others Filing First Papers.               Papers. If you are filing a first paper (for           (for example,
                                                                                                                           example, a complaint)
                                                                                                                                        complaint) in a civil case,   case, you must
  complete and file,    file, along with your first paper,  paper, the Civil Case Cover Sheet contained on page 1.                 1. This information will be used to compile
  statistics about the types and numbers of cases filed.                filed. You must complete items        items 11 through 6 on the sheet.
                                                                                                                                             sheet. In item
                                                                                                                                                          item 1, 1, you mustmust check
                                                                                                                                                                                    check    1
  one box for the case type that best describes the case.                case. If the case fits both a general and a more specific type of case listed in item                    item 1,
                                                                                                                                                                                        1,
  check the more specific one.            one. If the case has multiple causes of action,      action, check the box that best indicates the primary cause of action.             action.
  To assist you in completing the sheet,            sheet, examples of the cases that belong under each case type in item                 item 11 are provided below.  below. A cover
  sheet must be filed only with your initial paper.           paper. Failure to file a cover sheet with the first paper filed in a civil case may subject              sul^ect a party,
                                                                                                                                                                                    party,
  its counsel,
      counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.                          Court.
 To
  To Parties in     In Rule 3.740 Collections Cases.         Cases. AA "collections case" under rule 3.740 is defined as an action for recovery of money
 owed in a sum   sum stated to be certain that is not more than $25,000,          $25,000, exclusive of interest and attorney's fees,        fees, arising from a transaction in
 which property,
           property, services,
                           services, or money was acquired on credit.       credit. A collections case does not include an action seeking the following:             following: (1)
                                                                                                                                                                                  (1) tort
 damages,
 damages, (2)     (2) punitive damages,  damages. (3)   (3) recovery of real property,
                                                                                   property, (4)   (4) recovery of personal property,property, or (5) (5) a prejudgment writ of
 attachment.
 attachment. The identification of a case as a rule 3.740 collections case on this form                                 fomn means that it will be exempt from the general
 time-for-service requirements and case management rules,                      rules, unless a defendant files a responsive pleading.       pleading. AA rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.                            3.740.
 To Parties In Complex Cases.             Cases. In complex cases only,      only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex.
              complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court,                           Court this must be indicatedIndicated by
 completing the appropriate boxes In items               items 11 and 2.
                                                                       2. If a plaintiff designates a case as complex,     complex, the cover sheet must be served with the
 complaint on all parties to the                    action. A defendant may file and serve no later than the time of its first appearance a joinder in
                                               tee action.                                                                                                                          In the
 plaintiffs designation,
                designation, a counter-designation
                                         counter<iesignatjon that the  tee case is not complex,
                                                                                              complex, or,  or, if the plaintiff has made no designation,
                                                                                                                                                 designation, a designation that
 the case is complex.
                   complex.                                                     CASE TYPES AND EXAMPLES
 Auto Tort                                                          Contract                                                        Provisionally Complex Civil Litigation (CaL      (CaL
        Auto(22)    -Personal Injury/Property
               (22>-Personal                                             Breach of ContracVWarranty
                                                                                     Contract/Warranty (06)    (06)                 Rules of Court Rules 3.400-3.403)
                                                                                                                                                              3.400-3.403)
              Damage/Wrongful
              Oamage/Wrongful Death                                           Breath
                                                                              Breach of Rental/Lease                                     Antitrust/Trade Regulation (03)   (03)
        Uninsured Motorist (46)     (46) (h{Ifrthe
                                               the                                 Contract(not (not unlawful detainer                   Construction Defect (10)  (10)
             case involves
                    Involves an uninsured                                               or wrongful eviction)
                                                                                                        eviction)                        Claims Involving Mass Tort(40)     (40)
             motorist claim subject to                                        Contract/Warranty Breach-Seller                            Securities Litigation (28)
                                                                                                                                                                  (28)
             arbitration.
              arbitration, check this item    Item                                 Plaintiff(not
                                                                                               (not fraud or negligence)
                                                                                                               negligence)               Environmental/Toxic Tort (30)   (30)
             instead of Auto)
                            Auto)                                             Negligent Breach of Contract/                              Insurance Coverage Claims
 Other PI/PD/WD
          PI/PDAVD (Personal
                         (Personal Injury!Injury/                                 Warranty                                                     (arising from provisionally
                                                                                                                                              (arising         provislonall/ complex
 Property Damage/Wrongful Death)             Death)                           Other Breach of ContractNVarranty
                                                                                                    Contract/Warranty                         case type listed above)
                                                                                                                                                                   above)(41)(41)
 Tort                                                                    Collections (e.g.,
                                                                                       (e.g., money owed,owed, open                   Enforcement of Judgment
       Asbestos(04)  (04)                                                     book accounts)
                                                                                     accounts) (09)(09)                                  Enforcement of Judgment (20)     (20)
             Asbestos Property Damage                                         Collection
                                                                              Coilecllon Case-Seller
                                                                                            Case^eller Plaintiff                              Abstract of Judgment(Out    (Out of
                                                                              Other Promissory Note/Collections
                                                                                                      Note/Collectlor^s                             County)
                                                                                                                                                    County)
             Asbestos Personal Injury/
                   Wrongful
                   wrongful Death                                                 Case                                                        Confession of Judgment(non-     (non-
       Product Liability (not  (not asbestos or                         Insurance Coverage (not     (not provisionally
                                                                                                          pro^slonally                              domestic relations)
                                                                                                                                                                relations)
            toxic/environments°
             toxlc/envlronmental) (24)      (24)                             complex)
                                                                              complex) (18)(18)                                               Sister State Judgment
       Medical Malpractice (45)      (45)                                    Auto Subrogation                                                 Administrative Agency Award
            Medical Malpractice-                                             Other Coverage                                                       (not
                                                                                                                                                  (not unpaid taxes)
                                                                                                                                                                 taxes)
                   Physicians & Surgeons                                Other
                                                                         OUier Contract(37)  (37)                                             Petition/Certification
                                                                                                                                              Petition/CertiHcation of Entry of
            Other Professional Health Care                                   Contractual Fraud                                                    Judgment on Unpaid Taxes
                   Malpractice                                               Other Contract Dispute                                           Other Enforcement of Judgment
                                                                   Real Property                                                                    Case
       Other PI/PDNVD
                PI/PD/WD(23)    (23)
            Premises Liability (e.g.,   (e.g., slip                     Eminent Domain/Inverse                                       Miscellaneous Civil Complaint
                   and fell)
                          fall)                                              Condemnation(14)     (14)                                   RICO(27)(27)
            Intentional Bodily
                            BodDy Injuni/PDAND
                                       Injury/PO/WO                     VWongful Eviction(33)
                                                                        Wronghi                 (33)                                     Other Complaint (not (not specified
                                                                                                                                              above)
                                                                                                                                              above) (42)
                                                                                                                                                       (42)
                  (e.g.,
                   (e.g., assault,
                            assault, vandalism)
                                         vandalism)                     Other Real Properly
                                                                                      Property (e.g..
                                                                                                   (e.g., quiet title)(26)
                                                                                                                       (26)
            Intentional Infliction of                                                                                                         Declaratory Relief Only
                                                                             Writ
                                                                             VWt of Possession of Real Property                               Injunctive Relief Only (non-
                                                                                                                                                                         (non*
                   Emotional Distress                                        Mortgage Foreclosure                                                   harassment)
                                                                                                                                                    harassment)
            Negligent Infliction of                                          Quiet Title
                   Emotional Distress                                                                                                         Mechanics lienLien
                                                                             Other Real Property (not    (not eminent                         Other Commercial Complaint
            Other PI/PD/WD
                     PI/PDAWD                                                domain,
                                                                             domain, landlord/tenant,
                                                                                        landbrdAenant, or                                           Case (non-tort/non-complex)
                                                                                                                                                          (non-tort/horxomplex)
Non-PI/PD/WD (Other)  (Other) Tort                                           foreclosure)
                                                                             foreclosure)                                                     Other Civil Complaint
      Business Tort/Unfair
                   Tort/Unfelr Business                            Unlawful Detainer                                                              (non-tortMon-complex)
                                                                                                                                                   (non-tort/hon-complex)
          Practice (07)(07)                                             Commercial(31)  (31)                                         Miscellaneous Civil Petition
      Civil Rights (e.g.,
                       (e.g., discrimination,
                                discrimination,                         Residential(32)(32)                                              Partnership and Corporate
           false arrest)
                  arrest) (not(not civil
                                     cMI                                Drugs (38)
                                                                                (38) (if
                                                                                      (if the case Involves illegal                           Governance
                                                                                                                                              Govemanoe(21)   (21)
           harassment)
           harassment)(08)     (08)                                          drugs, check this item;
                                                                             dregs,                 Item; otherwise,
                                                                                                           otherwise,                    Other Petition (not
                                                                                                                                                          (not specified
      Oetamation (e.g.,
      Defamation       (e.g., slander,
                                 slander, libel)
                                             libel)                          report as Commercial or Residential)
                                                                                                             ResIdentlaO                      above)
                                                                                                                                              above) (43)
                                                                                                                                                       (43)
            (13)
             (13)                                                  Judicial Review                                                            Civil
                                                                                                                                              CIvfl Harassment
      Fraud(16)(16)                                                    Asset Forfeiture(05)   (05)                                            Workplace
                                                                                                                                              Workpiece Violence
      Intellectual Property (19)    (19)                                Petition Re:
                                                                                  Re: Arbitration Award (11)    (11)                          Elder/Dependent
                                                                                                                                              Eider/Dependent Adult
      Professional Negligence(26)         (25)                         Writ of Mandate (02)   (02)                                                 Abuse
          Legal Malpractice                                                 Writ-Administrative Mandamus                                      Election Contest
          Other Professional
                   Prof^slonal Malpractice                                  Writ-Mandamus on Limited Court                                    Petition for Name Change
                (not
                fnof medical orlegal)  legal)                                    Case Matter                                                  Petition for Relief From Late
      Other Non-PVPCINVD
               Non-PI/PD/WD Tort (35)         (35)                          Writ-Other Limited
                                                                                            Unrated Court Case                                     Claim
Employment                                                                       Review                                                       Other Civil Petition
     Wrongful Termination (38)        (36)                             Odier Judicial Review(39)
                                                                       Other                         (39)
     Other Employment(15)         (15)                                       Review of Health Officer Order
                                                                            Notice of Appeal-Labor
                                                                                Commissioner
                                                                                Comml^loner Appeals
CM-010[Rev.Julyl.2007]
CM<0f0[Rev.    1.20071                                                                                                                                                        Page
                                                                                                                                                                              Pag* 2 o12
                                                                                                                                                                                     of 3
                                                                          CASE COVER
                                                                    CIVIL CASE COVER SHEET
                                                                                     SHEET
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  SNORT
  SHORT TIME:
        TiTLS: Marlene                                                                                    CASE NUMSER
                                                                                                               NUMBER
               Mgrlene     KrIstovich
                           Kristovich et al.
                                         al. v.
                                             v. Bank of America



                               CIVIL CASE COVER SHEET ADDENDUM AND
                                       STATEMENT OF LOCATION
                (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                (CERTIFICATE                                         LOCATION)
                                                                           civil case filings In the Los Angeles Superior Court.
               This form Is required pursuant to Local Rule 2.3 In all new chill                                          Court.




       Step
       Step 1:
            1: After
               After completing
                     completing the
                                the Civil
                                    Civil Case
                                          Case Cover
                                                Cover Sheet  (Judiciai Council
                                                      Sheet (Judicial  Council form CM   -010),find
                                                                                       CM-010),      the exact
                                                                                                find the exact case
                                                                                                               case type
                                                                                                                    type in
                                                                                                                         in
               Column AA that
                         that corresponds
                              corresponds to   the case
                                            to the case type
                                                        type Indicated
                                                              Indicated in
                                                                         in the
                                                                            the Civil
                                                                                Civil Case
                                                                                      Case Cover
                                                                                           Cover Sheet.
                                                                                                  Sheet.


       Step
       Step 2:
            2: In Column
                  Column B,
                         B, check
                            check the box for
                                  the box for the
                                              the type of action that best
                                                                      best describes
                                                                           describes the
                                                                                     the nature
                                                                                         nature of
                                                                                                of the
                                                                                                   the case.
                                                                                                       case.


       Step
       Step 3:
            3: In
               In Column
                  Column C,
                         C, circle
                            circle the
                                   the number
                                       number which
                                              v/hlch explains
                                                     explains the
                                                              the reason
                                                                  reason for
                                                                         for the
                                                                             the court
                                                                                 court filing
                                                                                       filing location
                                                                                              location you
                                                                                                       you have
                                                                                                           have
               chosen.
               chosen.

                                            Applicable
                                            Applicable Reasons
                                                       Reasons for
                                                               for Choosing
                                                                   Choosing Court
                                                                            Court Filing Location(Column
                                                                                  Filing Location (Column C)
                                                                                                          C)

1.
1. Class actions must be filed in the Stanley Mosk Courthouse,
                                                   Courthouse, Central District.
                                                                       District.       7. Location where petitioner resides.
                                                                                       7.                           resides.
2.
2. Permissive filing in central district.
                                distrlcL                                              8. Location wherein defendant/respondent functions wholly.
                                                                                      8.                                                 wholly.
3.
3. Location where cause of action arose.
                                  arose.                                              9.
                                                                                      9. Location where one or more of the parties reside.
                                                                                                                                   reside.
4.
4. Mandatory personal
             persona) Injury filing in North District.
                                             District.                               10.
                                                                                     10. Location of Labor Commissioner Office.
                                                                                                                          Office.
                                                                                     11.
                                                                                     11. Mandatory filing location (Hub
                                                                                                                    (Hub Cases —- unlawful detainer,
                                                                                                                                            detainer, limited
6.
5. Location where performance required or defendant resides.
                                                    resides.                         non-collection, limited collection,
                                                                                                             collection, or personal Injury).
                                                                                     non-collection,                                 injury).
6.
6. Location of property or permanently garaged vehicle.
                                               veNde.




                                A                                                           B         •                                            C            •
                     avii
                     Civil Case CoverSheet
                                Cover Sheet                                          Type of Action
                                                                                             Actiori                                      Applicable Reasons -•
                          Category No.
                                   No.                                              (Check
                                                                                    (Ci^ck only one)
                                                                                                one)                                       See Step 3 Above

                            Auto(22)
                                (22)                0□ A7100 Motor Vehicle - Personal Injury/Property DamageNVrongful
                                                                             Personaflnju^/Property   Damage/Wrongful Death              1,4,11
                                                                                                                                         1.4.11

  3 O
  < I-              Uninsured Motorist(46)
                                      (46)          0□ A7110 Personal Injury/Property
                                                                      Irrjury/Property Damage/Wrongful
                                                                                       OamageA/Vrongful Death —
                                                                                                              - Uninsured Motorist       1,4,11
                                                                                                                                         1.4.11


                                                    0□ A6070 Asbestos Property Damage                                                    1,11
                                                                                                                                         1.11
                         Asbestos(04)
                                 (04)
                                                    0□ A7221 Asbestos-
                                                             Asbestos • Personal IniuryMkongful
                                                                                 InjuryAA/rongful Death                                  1,11
                                                                                                                                         1.11
  ▪S.12
   ^•2
                      Product Liability(24)
                                       (24)         0□ A7260 Product Liability(not
                                                                              (not asbestos or toxic/environmental)
                                                                                               toxic/envIroruTiental)                    1,4,11
                                                                                                                                         1.4.11
  Ii    W


    e                                                               Malpractice - Physicians 8
                                                   0□ A7210 Medical Malpractice-             & Surgeons                                  1,4,11
                                                                                                                                         1.4.11
  ▪ g              Medical Malpractice(45)
                                      (45)
                                                   0□ A7240 Other Professional
                                                                  Professtonat Health Care Malpractice                                   11.4.11
                                                                                                                                            4 11
    « c  S2
   0§ 3e
  Te
  c

   F.C V'5
  a. tin                other Personal
                        Other
                                                                              (e.g.. slip and fall)
                                                   0□ A7250 Premises Liability(e.g.,          fall)                                      11.4.11
                                                                                                                                            4 11
  ii m
                        Injury Property            0□ A7230 intentional
                                                            assault,
                                                            assault, vandalism,
                                                                               injury/Property Damage/Wrongful Death (e.g.,
                                                            Intentional Bodily Injury/Property
                                                                     vandalism, etc.)
                                                                                 etc.)
                                                                                                                     (e.g.,              1,4,11
                                                                                                                                         1.4.11
  8
  60S                  Damage Wrongful
                          Death(23)
                                 (23)              0□ A7270 Intentional infliction
                                                                        Infliction of Emotional Distress
                                                                                                                                         1,4,11
                                                                                                                                         1.4.11
                                                                                                                                         1,4,11
                                                                                                                                         1.4.11
                                                   0□ A7220 Other Personal Injury/Property DamagerWrongful
                                                                                           DamageAAfrongful Death




 LASC CIV 109
          109 Rev.
              Rev. 12/18
                   12/18
                                                  CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3

 For Mandatory Use                                   AND STATEMENT OF LOCATION                                                           Page 11 of 4
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 SHORT TITLE:
       TITLE:                                                                                           CASE NUMBER
                      Marlene
                      Maiiene Kristovlch
                              Kristovich et al.
                                            al. v.
                                                v. Bank of
                                                        or America


                                     A            •                                            B                                               C
                                                                                                                                               C Applicable
                           Civil
                           civil Case Cover Sheet                                         Type of Action                                    Reasons - See Step 3
                                 Category No.
                                          No.                                            (Check only one)
                                                                                    . ., (Check      one)                                         Above

                             Business Tort(07)
                                          (07)          0□ A6029 Other Commercial/Business
                                                                       CommerclaiyBusIness Tod
                                                                                           Tort (not
                                                                                                (not fraud/breach of contract)
                                                                                                                     contract)              1,2,3
                                                                                                                                            1.2.3

                              Civil Rights (08)
                                           (08)         0□ A6005 CMI
                                                                 CIvtl Rights/Discrimination
                                                                       RIghts/DiscrImlnatlon                                                1,2,3
                                                                                                                                            1.2.3
     21.1-
     e
     s s€S
    £ g
    1-,ra                     Defamation (13)
                                         (13)           0□ A6010 Defamation (slanderntbeU
                                                                            (slander/llbel)                                                 1,2,3
                                                                                                                                            1.2.3
    .2.3 =
    c rn
    £    c*                     Fraud (16)
                                      (16)              0□ A6013 Fraud(no
                                                                      (no contract)
                                                                          contract)                                                         1,2,3
                                                                                                                                            1,2.3
     II
     e t-s                                              0□ A6017 Legal Malpractice                                                          1.2,3
                                                                                                                                            1.2.3
                       Professional Negligence(25)
                                              (25)
                                                        CI
                                                        □ A6050 Other Professional Malpractice(not
                                                                                              (not medical or legal)
                                                                                                              legal)                        1,2.3
                                                                                                                                            1.2.3
  z
  z 0
    o
        O <9

                                Other(35)
                                     (35)               0□ A6026 Other Non-Personal Injury/Property Damage tort                             1,2,3
                                                                                                                                            1.2.3

                        Wrongful Termination (38)
                                             (38)       0□ A6037 Wrongful Termination                                                       1,2.3
                                                                                                                                            1.2.3
               d)

               1.
               o                                        0□ A6024 Other Employment Complaint Case                                            1,2,3
                                                                                                                                            1.2.3
           &              Other Employment(15)
                                          (15)
           &                                           0□ A6109 Labor CommissionerAppeals
                                                                      Commissioner Appeals                                                  10
                                                                                                                                            10

                                                       0□ A6004 Breach of Rental/Lease Contract (not
                                                                                                (not unlawful detainer or wrongful
                                                                eviction)
                                                                eviction)                                                                   22.5
                                                                                                                                               5
                       Breach
                       Breach of Contract/Warranty
                                 Contract/Wananty                                                                                           2,5
                                                                                                                                            2.S
                                   (06)
                                    (06)               0□ A6008 Contract/VVarranty
                                                                Contract/Warranty Breach -Seller Plaintiff(no
                                                                                                          (no fraud/negligence)
                                                                                                              fraud/negligence)
                            (not
                             (not Insurance)
                                  insurance)           0□ A6019 Negligent Breach of ContractrWarranty                                       1,2.5
                                                                                                                                            1.2.5
                                                                                    Contract/Warranty(no
                                                                                                      (no fraud)
                                                                                                          fraud)
                                                       00 A6028 Other Breach of ContracWVarranty
                                                                                Contract/Warranty(not
                                                                                                 (not fraud or negligence)
                                                                                                               n^ligence)                   1.2.5
                                                                                                                                            1.2.5

          ■s                                           0□ A6002 Collections Case-Seller Plaintiff
                                                                                        Plaintilf                                           5,6,11
                                                                                                                                            6.6.11
          £                  Collections(09)
                                        (09)
                                                       0□ A6012 Other Promissory Note/Collections
         §                                                                       Note/Collectlons Case                                      5.11
                                                                                                                                            5.11
         O
                                                       0□ A6034 Collections Case-Purchased Debt(Charged
                                                                                                  (Charged Off Consumer Debt                5,
                                                                                                                                            5. 6,11
                                                                                                                                               6.11
                                                                 Purchased on or after January 1,
                                                                                               1, 2014)
                                                                                                  20141
                        Insurance Coverage(18)
                                          (18)         0□ A6015 Insurance Coverage(not
                                                                                  (not complex)
                                                                                       complex)                                             1,2,5,8
                                                                                                                                            1.2.5.8

                                                       0□ A6009 Contractual Fraud                                                           1,2,3,5
                                                                                                                                            1.2.3.5
                           Other Contract(37)
                                         (37)          f3      Tortious Interference
                                                       □ A6031 Tedious  interference                                                        1,2,3,
                                                                                                                                            1.2, 3,65
                                                       0□ A8027
                                                          A6027 Other Contract DIspute(not
                                                                               Dlsput6(not breachnnsurance/fraud/negligence)
                                                                                           breach/insurance/ffaud/negllgence)               1,2,3,
                                                                                                                                            1.2. 3. 8,9
                                                                                                                                                    8.9

                         Eminent Domainffnverse
                                 Domain/Inverse
                                                       0□ A7300 Eminent Domain/Condemnation
                                                                        Oomain/Condemnation                 Number of parcels
                                                                                                                      parcels.              2.6
                                                                                                                                            2.6
                           Condemnation(14)
                                         (14)

                         Wrongful Eviction (33)
                                           (33)        0□ A6023 Wrongful Eviction Case                                                      2,6
                                                                                                                                            2.6
        2S
      Q.
                                                       0□ A6018 Mortgage Foreclosure                                                        2.6
                                                                                                                                            2.6
     a)
     oc                 Other Real Property (28)
                                            (26)       0□ A6032 Quiet Me
                                                                      Title                                                                2,6
                                                                                                                                           2.6
                                                       0□ A6060 Other Real Property (not
                                                                                    (not eminent domain,
                                                                                                 domain, landlordRenant.
                                                                                                         landlord/lenant, foreclosure)
                                                                                                                          foreclosure)     2,6
                                                                                                                                           2.8

                      Unlawful Detainer-Commercial
                                                   0□ A6021 Unlawful Detalner-Commercial
                                                                     Detainer-Commercial(not
                                                                                         (not drugs or wrongful eviction)
                                                                                                                eviction)                  6,11
                                                                                                                                           6.11
                                  (31)
                                   (31)
  Unlawful Detainer




     .E
                      Unlawful Detainer-Residential
   o
     I                            (32)
                                  (32)                 0□ A6020 Unlawful Detainer-Residential(not
                                                                                             (not drugs or wrongful eviction)
                                                                                                                    eviction)              6,11
                                                                                                                                           8.11
   *5                     Unlawful Detainer-
                                                       0□ A6020FUnlawful
                                                          A6020FUn!awful Detainer-Post-Foreclosure                                         2,
                                                                                                                                           2. 6,11
   1c                    Post-Foreclosure(34)
                                          (34)                           Detalnar-Post-Foreclosure                                            6,11

   3                  Unlawful Detalner-Drugs
                               Detalner-Druga(38)
                                              (38)     0□ A6022 Unlawful Detainer-Drugs                                                    2,6,11
                                                                                                                                           2.6.11



                                                      CIVIL CASE COVER SHEET ADDENDUM                                                    Local Rule 2.3
LASC CIV 109
         109 Rev.
             Rev. 12/18
                  12/18
                                                         AND STATEMENT OF LOCATION                                                         Page 2 of 4
For
For Mandatory Use
 Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 21 of 49 Page ID #:26

      TITLE:
SHORT TITLE:                          Marlene Kristovich et al.
                                                            al. v.
                                                                v, Bank of America                                          CASE NUMBER




                                                     A                                                           B                                 C Applicable




                                                                                                                                                      C
                                          Civil
                                          C{>ril Case Cover Sheet
                                                            Sheet..                                        Type of Action .                     Reasons - See Step 3
                                                 Category No.'
                                                          No.'                                           .(Check
                                                                                                          (Check only one)
                                                                                                                      one)                            Above

                                           Asset Forfeiture(05)
                                                           (05)           0□ A6108 Asset Forfeiture Case                                        2,
                                                                                                                                                2, 3,6
                                                                                                                                                   3.6

                                         Petition re Arbitration (11)
                                                                 (11)     0□ A6115
                                                                             A611S Petition to Compel/ConfirmNacate
                                                                                               Compel/ConflrmA/acate Arbitration                2.5
       Judicial Review




         fiC
               S                                                          0□ A6151 Writ -• Administrative Mandamus                              2,8
                                                                                                                                                2.8
        .2                                 Writ of Mandate(02)
                                                          (02)            0□ A6152 Writ -• Mandamus on Limited Court Case Matter                2
         u
        1                                                                 0□ A8153               Llrrtited Court Case Review
                                                                             A61S3 Writ -• Other Limited                                        2

                                        Other Judicial Review(39)
                                                             (39)         0□ A6150 Other Writ /Judicial Review
                                                                                         Writ/Judicial                                          2,8
                                                                                                                                                2.8

                                      Antitrust/Trade
                                      Artilrust/Trade Regulation (03) 0□ A6003 Antitrust/Trade Regulation
                                                      Reguiation(03)                                                                            1,2,8
                                                                                                                                                1.2,8
   Provisionally Complex Litigation




             g
       .en                               Construction Defect(10)
                                                            (10)         0□ A6007 Construction Defect                                           1,2,3
                                                                                                                                                1.2.3
       IS
                                        Claims Involving Mass Tort
            S                                      (40)
                                                   (40)                  0□ A6006 Claims involving
                                                                                         Involving Mass Tort                                    1,2,8
                                                                                                                                                1.2.8
          o.
          E
          o
     u                                   Securities Litigation (28)
                                                               (2^       0□ A6035 Securities Litigation Case                                    1,2,8
                                                                                                                                                1.2,8
     *5                                         Toxic Tort
      §                                                                  0□ A6036 Toxic Tort/Environmental
                                                                                        Tort/Envlronmental                                      1,2,3,
                                                                                                                                                1.2.   8
                                                                                                                                                     3.8
                                            Environmental(30)
                                                           (30)
    :«>
                                       Insurance Coverage Claims
    a.&                                 from Complex Case(41)
                                                           (41)
                                                                         CI                                    (complex case only)
                                                                         □ A6014 Insurance Coverage/Subrogation(complex      only)              1,2,5.
                                                                                                                                                1.2,   8
                                                                                                                                                     5.8

                                                                         0□ A6141 Sister State Judgment                                         2.
                                                                                                                                                2. 5,11
                                                                                                                                                   5.11
                                                                         CI
                                                                         □ A6160 Abstract of Judgment                                           2,6
                                                                                                                                                2.6
  Q)                          Oi
                                                                         0□ A8107
                                                                            A6107 Confession of Judgment(non-domestic
                                                                                                        (non-domestic relations)                2,9
   2
  Ed                                           Enforcement                                                            relations)                2.9
 if
 §
 &4
                                             of Judgment(20)
                                                        (20)             0□ A6140 Administrative Agency Award (not
                                                                                  AdministrativeAgencyAward   (not unpaid taxes)
                                                                                                                          taxes)                2,8
                                                                                                                                                2.8
  iS *0                                                                  0□ A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax      2,8
                                                                                                                                                2.8
                                                                         0□ M112
                                                                            A6112 Other Enforcement of Judgment Case                            2,8.9
                                                                                                                                                2.8.9

                                              • RICO(27)
                                                    (27)                 0□ A6033 Racketeering(RICO)
                                                                                              (RICO) Case                                       1,2,8
                                                                                                                                                1.2.8
                    .E
  S -s                                                                   0□ A6030 Declaratory Relief Only                                      1,2,8
                                                                                                                                               1.2.8

  ^1 aI                                     Other Complaints             0□ A6040 Injunctive Relief Only (not
                                                                                                         (not domestic/harassment)
                                                                                                              domestic/harassment)             2,8
                                                                                                                                               2.8
                                       (Not
                                       (Not Specified Above)
                                                      Above) (42)
                                                             (42)                       Commercial Complaint Case (non-tort/noncomplex)
                                                                         0□ A6011 Other Commerdal                 (norvtorf/non-complex)       1,2,8
                                                                                                                                               1.2,8
                   o                                                     0□ A6000 Other Civil Complaint(non-tort/non-complex)
                                                                                                       (non-tortMon-comptex)                   1,2,8
                                                                                                                                               1.2,8

                                         Partnership Corporation
                                                                         0□ A6113 Partnership and Corporate Governance Case                    2,8
                                                                                                                                               2.8
                                            Govemance
                                            Governance (21)
                                                         (21)

                                                                         0□ A6121 Civil Harassment With Damages                                2,
                                                                                                                                               2. 3,
                                                                                                                                                  3.99

  Ii                                                                     0□ A8123 Woriqplace Harassment With Damages
                                                                            A6123 Workplace                                                    2,3,9
                                                                                                                                               2.3.9

 If                                       Other Petitions(Not
                                                         (Not
                                                                                  Elder/Dependenl Adult Abuse Case With Damages
                                                                         0□ A6124 Elder/Dependent                                              2,3,9
                                                                                                                                               2.3.9


 II                                      Specified Above)
                                                   Above)(43)
                                                          (43)           0□ A6190
                                                                            A619p Election Contest
                                                                         0□ A6110 Petition for Change of Name/Change of Gender
                                                                         0□ A6170 Petition
                                                                                  Petftion for Relief from Late Claim Law
                                                                                                                                               2
                                                                                                                                               2,7
                                                                                                                                               2.7                     !
                                                                                                                                               2,
                                                                                                                                               2. 3,8
                                                                                                                                                  3.8
                                                                         0□ A6100 Other CMI
                                                                                        Civil Petition                                         2,
                                                                                                                                               2.99


                                                                                                                                                                       i



                                                                        CIVIL CASE COVER SHEET ADDENDUM                                      Local Rule 2.3            :
LASC CIV 109 Rev.
LASCCIV109   Rev. 12/18
                  12/18
                                                                           AND STATEMENT OF LOCATION                                           Page 3 of 4
For Mandatory Use
        Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 22 of 49 Page ID #:27

      SHORT TITLE:
            TlT1.e:   Marlene KristovIch
                              Krislovich et al.
                                            al. v.
                                                v. Bank of America                        CASE NUMBER




    Step
    Step 4:
         4: Statement
            Statement of
                      of Reason
                         Reason and
                                and Address:
                                    Address; Check the appropriate boxes for the numbers shown under Column C for
                                                                                                              for the
                                                                                                                  the
                type of action that you have selected.                                                     location, including zip code.
                                                                 address which is the basis for the filing location,
                                             selected. Enter the addreis                                                           code.
                (No
                (No address required for class action cases).
                                                      cases).

                                                                          ADDRESS:
                                                                          ADDRESS:
        REASON:
        REASON:                                                                        818              Street, Suite 930
                                                                                       618 West Seventh Street,
         0
         □ 1.02.03.04.0  5.06.07. 08.0
           1.(3 2.D3.D4.05.D6.Q7. OS.D 9.0 10.0 11.
                                       9.D10.D11.



        CITY:
        CITY:                                       STATE:
                                                    STATE:     ZIP CODE

       Los Angeles                                                                                                                             !
                                                    CA         90017

-   Step
    Step 5:
         5: Certification
            Certification of Assignment: I certify that this case is properly filed in the Central District
                          of Assignment:                                                                                     District of
                the Superior Court of California,
                                      California, County of Los Angeles [Code
                                                                        [Code Civ.
                                                                              Civ. Proc.,
                                                                                   Proc.,§392
                                                                                          §392 et seq.,
                                                                                                  seq., and Local Rule 2.3(a)(1)(E)].
                                                                                                                       2.3(a)(l)(E)l.




       Dated; June 3,
     ' Dated:      3, 2019
                                                                                              21.5.0 ATTORNEY/FI LI NO PARTY)
                                                                                           16.TI
                                                                                      (^^tJATUREOP^ORNEY/FILING        PARTY)




      PLEASE HAVE THE FOLLOWING ITEMS
                                ITEMS COMPLETED AND READY TO BE FILED
                                                                PILED IN ORDER TO PROPERLY
      COMMENCE YOUR NEW COURT CASE:
                                CASE:

           1.
           1. Original Complaint or Petition.
                                    Petition.
                                                                                                                                               i
                                                                                                                                               :
           2.
           2. If filing a Complaint,
                          Complaint, a completed Summons form for issuance
                                                                  Issuance by the Clerk.
                                                                                  Clerk.
           3.
           3. Civil Case Cover Sheet,
                               Sheet, Judicial Council form CM-010.
                                                            CM'010.

           4.
           A. Civil Case Cover Sheet Addendum and Statement of Location form,
                                                                        form, LACIV 109,LASC Approved 03-04 (Rev.
                                                                              LACIV109,                     (Rev.
              02/16).
              02/16),
           5.
           5. Payment in full of the filing fee,
                                            fee, unless there is court order for waiver,
                                                                                 waiver, partial or scheduled payments.
                                                                                                              payments.
           6.
           6. A signed order appointing the Guardian ad Litem,
                                                         Litem, Judicial Council form CIV-010,
                                                                                      CIV-010, if the plaintiff or petitioner is a
              minor under 18
                          18 years of age will be required by Court In order to Issue
                                                                                issue a summons.
                                                                                        summons.

           7.
           7. Additional copies of documents to be conformed by the Clerk.
                                                                    Clerk. Copies of the cover sheet and this addendum
              must be served along with the summons
                                            summons and complaint,
                                                         complaint, or other initiating pleading in the case.
                                                                                                        case.




                                                 CIVIL CASE COVER SHEET ADDENDUM                                          Local Rule 2.3
     LASC CIV 109
               109 Rev.
                   Rev. 12/18
                                                    AND STATEMENT OF LOCATION                                                Page 4 of 4
     For Mandatory Use

                                                                                                                                           I
     Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 23 of 49 Page ID #:28
                                                                                                     Reserved for CledCs File Stamp
                                                                                                              tar Clerk's
                   SUPERIOR COURT OF CALIFORNIA
                      COUNTY OF LOS ANGELES
    COURTHOUSE ADDRESS:
               ADDRESS:                                                                                        FILED
   Stanley Mosk Courthouse                                                                          SuperiOf Court
                                                                                                    Superb   COJit of California
                                                                                                                      CaHornia
                                                                                                      Countyof
                                                                                                      County    LosA/igatss
                                                                                                             of Los Angeles
   111
   111 North Hill Street,
                  Street, Los Angeles,
                              Angeles, CA 90012
                                                                                                          06/03y2019
                                                                                                          06/03/2019
                       NOTICE OF CASE ASSIGNMENT                                           Sherri
                                                                                           SffiemRR Cat     giBOuSve Off=
                                                                                                    Carter, ExecuSve 0§oer f/ Goa of Cate
                                                                                                                              (JeAolCa^r
                                                                                            sSy:
                                                                                              y.                 CSfton
                                                                                                         Romunda Cffion               Dew
                                                                                                                                      Ddptityy
                          UNLIMITED CIVIL CASE

                                                                                     CASE NUMBER:
                                                                                          NUMBER:

                                                                  Indicated below.
   Your case is assigned for all purposes to the judicial officer indicated below.   19STCV19173
                                                                                     19STCV19173

                                FORM IS
                           THIS FORM IS TO
                                        TO BE
                                           BE SERVED
                                              SERVED WITH
                                                     WITH THE
                                                          THE SUMMONS
                                                              SUMMONS AND
                                                                      AND COMPLAINT
                                                                          COMPLAINT

                                                     ROOM                                                            DEPT         ROOM
                                                                I
                 ASSIGNED JUDGE             DEPT     ROOM                     ASSIGNED JUDGE                                      ROOM

    y
    ii            E. Rico
          Richard E.                       17
                                           17




                 PlaintifRCross-Complainant/Attomey of Record
    Given to the PlaintiffiCross-Complainant/Attomey             Sherri R.
                                                                        R. Carter,
                                                                           Carter, Executive Officer / Clerk of Court
    on 06/04/2019                                                         By Romunda Clifton                                     ^, Deputy Clerk
               (Date)
               (Date)
LACIV 190
      190(Rev
          (Rev 6/18)
               6/18)                                  - UNLIMITED CIVIL CASE
                            NOTICE OF CASE ASSIGNMENT —
LASC Approved 05/06
     Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 24 of 49 Page ID #:29
                                    INSTRUCTIONS
                                    INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

 The following critical provisions of the California Rules of Court,
                                                              Court, Title 3,
                                                                           3, Division 7,                               Court, are summarized
                                                                                       7, as applicable in the Superior Court,     summarized
 for your assistance.
          assistance.

 APPLICATION
 The Division 7 Rules were effective January 1,
                                             1, 2007.
                                                2007. They apply to all general civil cases.
                                                                                      cases.

 PRIORITY OVER OTHER RULES
 The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.
                                                                                                  inconsistent.

 CHALLENGE
 CHALLENGE TO       TO ASSIGNED JUDGE
 A challenge under Code of Civil Procedure Section 170.6 must be made within 15       15 days after notice of assignment for all purposes
 to a judge,
      judge, or if a party has not yet appeared,
                                       appeared, within 15
                                                        15 days of the first appearance.
                                                                             appearance.

 TIME
 TIME STANDARDS
        STANDARDS
 Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:
                                                                                                             standards:

 COMPLAINTS
 All complaints shall be served within 60 days of filing and proof of service
                                                                      ser\'ice shall be filed within 90 days.
                                                                                                        days.

 CROSS-COMPLAINTS
 CROSS-COMPLAINTS
                                      obtained, no cross-complaint may be filed by any party
 Without leave of court first being obtained,                                                  party' after
                                                                                                      after their
                                                                                                            their answer
                                                                                                                  answer is
                                                                                                                          is filed.
                                                                                                                             filed. Cross-
                                                                                                                                    Cross­
 complaints shall be served
                     sers'ed within 30 days of the filing date and a proof of service filed within 60 days of the filing date.
                                                                                                                         date.

 STATUS CONFERENCE
 A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
 complaint.
 complaint. Counsel must be fully prepared to discuss the following
                                                          follow'ing issues:
                                                                     issues: alternative dispute resolution,
                                                                                                 resolution, bifurcation,
                                                                                                             bifurcation, settlement,
                                                                                                                          settlement,
 trial
 trial date,
       date, and
             and expert witnesses.
                        witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10    10 days before the scheduled trial date.
                                                                                                                               date. All
parties shall have motions in limine,
                                 limine, bifurcation motions,
                                                      motions, statements of major evidentiary
                                                                                     evidentiary' issues,
                                                                                                  issues, dispositive motions,
                                                                                                                      motions, requested
form jury instructions,
            instructions, special jury instructions,
                                       instructions, and special jury verdicts timely filed and served prior to the conference.
                                                                                                                      conference. These
matters may be heard and resolved at this conference.
                                             conference. At least five days before this conference,
                                                                                         conference, counsel must also have exchanged
lists of exhibits and witnesses,
                      witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.
                                                        Rules.

SANCTIONS
The court will impose
                 impose appropriate sanctions for the failure or refusal to comply with
                                                                                   w'ith Chapter Three Rules,
                                                                                                        Rules, orders made by the
Court,
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules.
                                                                                          Rules. Such sanctions may be on a party,
                                                                                                                            party,
or
or if
   if appropriate,
      appropriate, on counsel for a party.
                                    party'.

This is not a complete delineation of the Division 7 or Chapter Three Rules,
                                                                      Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction.
                                                                                        Reduction. Careful
                                                                                                     Caretui reading and
compliance
compliance with
            with the
                 the actual Chapter Rules is imperative.
                                             imperative.

Class Actions
Pursuant to Local Rule 2.3,
                       2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse.
                                   courthouse. IfIf the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.
                           purposes.

*Provisionally
"Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status.
          status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq.,
                                                                                                                 seq., it will be
randomly assigned to a complex judge at the designated complex courthouse.
                                                                  courthouse. If the case is found not to be complex,
                                                                                                             complex, it will
                                                                                                                          w'ill be
returned to an Independent Calendar Courtroom for all purposes.
                                                      purposes.




LACIV 190(Rev
LACIV190 (Rev 6/18)
              6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/C6
              05/06
Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 25 of 49 Page ID #:30




                                          VOLUNTARY.
                                          VOLUNTARY EFFICIENT LITIGATION STIPULATIONS




       County
               a
       Superior Court of Catania
       Coairtjr of Los
                         CeBTemU
                   Loa Meese
                       Angiloi
                                a            The Early Organizational
                                                       OrganlzaUona] Meeting
                                                                      Meetir^ Stipulation,


                                          voluntary stipulations entered into
                                                                              Stipulation. Discovery
                                                     Stipulation, and Motions in Limine Stipulation are
                                          Resolution Stipulation,
                                                                         Into by the
                                                                                 Uie parties.
                                                                                     parties. The parties
                                          may enter into one,
                                                         one, two,
                                                              two, or ell
                                                                      all three of the stipulations;
                                                                                       stipulations;
                                          however,
                                          however, they may not alter the stipulations as written,
                                                                                          written,
        LAC
        ;LACi/%'                          because the Court wants to ensure uniformity of application.
                                    - ]
                                                                                          application.
       isio MCP WI County
       UrtAngilAi   Ceuniy
       Bar Association
       BvAnscUUGn                         These stipulations are meant to encourage cooperation
                                                                                    cooperatian
       UUgallon Section
       fidiPlion fiectlen

       los
       Uts Ample,
           AtiBolit County                between the parties and to assist In
                                                                            in resolving issues
                                                                                         Issues in a
       Bar Airsoctallon
           AnocItUon Labor
                        LaW and
       Employment
       Emptoymant Law
                    t«w Section
                         Sactlon          manner that promotes economic case resolution and judicial
                                          efficiency.
                                          efficiency.

               I
       eff          VS.
                      15/PSTil,

                      tr•
                      li;
                                              The following organizations endorse the goal
                                                                                      goai of
      Consumer  Attorney*
      Connmtr Attorneys
      Association
      Aaaoelatlan of Los
                     Uia Angeles
                         Anoolti          promoting efficiency in
                                                               In litigation and ask that counsel
                                          consider using
                                                   using, these stipulations as a voluntary way to
       ?                                  promote communkalions
                                                  communications and procedures among counsel
           I
                            u             and
                                          and with the court to fairly resolve
                                                                       resotve issues in their cases.
                                                                                               cases.

                                          *Los
                                          4-Los Angeles County Bar Association Litigation Section*
                                                                                          Section^
      SouUiim California
      Southern Cellfonila
      Defense
      0«f*naa Counsel
              Counsol

                                                    0^ Los Angeles County Bar Association
                                                     Labor and Employment Law Section*
                                                                              Section#
               awL
     Asiociadon
     AModatenoT of
     Business Thal Lawyers
     ButlnasaTtUl  Law^m                     *Consumer
                                             #Consunr)er Attorneys Association of Los Angeles*
                                                                                      Angeles#


                                                   *Southern
                                                   #Southern California Defense Counsel*
                                                                                Counsel#


                                                  *Association
                                                  #As5ociation of Business Trial Lawyers*
                                                                                 Lawyers#
                   cgtA
     Ctltomla Empioyawnt
     Ciliorrits EmptoymoAt
     Lewym Association
     lapin    Auoel^on
                                              *California
                                              #Califomia Employment Lawyers Association*
                                                                            Association#


        LACtV  230(NEW)
        LACfV230(»CW)
        LASC Approved 4-11
                        4>ii
        For Optional Use
        ForOpltonalUse
Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 26 of 49 Page ID #:31




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                                                            fAX PlO.
     S4ML ACORE5510034),
          Aooness {Ofitmf):
       ATTORNEY
       ATTORMEV FOR
                FOR(WANT
                    (Mwy
    SUPERIOR
    SUPgRIOR COURT COURT OF
                         OF CALIFORNIA, COUNTY OF
                            CALIFORNIA. COUNTY    LOS ANGELES
                                               OF LOS
    CanTHOU=  AbORESS:
    coiJHmcuacAfioft£s&

    PtAiNTIFY:
    PLAINTIFf:


    OEFENONa:
    OEFEMOAMT:

                                                                                        ciAE NumeAR:
                                                                                        CAS6W1UBEA;

                      STIPULATION —
                                  - DISCOVERY RESOLUTION

         This stipulation
              stipulallon Is
                           Is intended to provide a fast
                              intended to                    informai resolution of discovery
                                                    test and informal                         issues
                                                                                    discovery Issues
         through limited
                  limited paperwork and an Informal                   wilh the Court to aid In
                                                informal conference with                      in the
         resolution of the Issues.
                            issues.

         The parties agree that
                           that:

        1.
        1. Prior to
                  (0 the discovery cut-off inIn this action,              moliDn shall
                                                     action, no discovery motion          fifed or heard unless
                                                                                 shall be filed
           the
           the moving party                    wnlten request for an Informal
                         parly first makes a written                  Informal Discovery Conference pursuant
           to
           to the
              the terms
                   terms of this stipulation.
                                  stipulation.

        2.                                                                                       parlies
        2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
           and
           and determine whether it can be resolved informally.                          wiH preclude
                                                    informaliy. Nothing set forth herein will predude a
           party
           party from making a record at the conclusion
                                              condusion of an Informal               Conference, either
                                                                 Informal Discovery Conference,
           orally or In
                     In writing.
                        wrilir>g.

        3.
        3. Following a reasonable and good faith attempt at an informal                     issue to be
                                                                                      each Issue
                                                               informal resolution of each
           presented,
           presented, a party may request an Informal
                                             Informal Discovery Conference pursuant to lo the following
           procedures:
           procedures:

                   a.
                   a. The party requesting the Informal Discovery Conference will:
                                                                             will:

                      I.
                      i.      File
                              FBa a Request for Informal
                                                 informal Discovery Conference with the
                                                                                      Ihe clerk's office on the
                              approved form (copy
                                             (copy attached)
                                                    altached} and deliver a courtesy,
                                                                            courtesy, conformed copy to     Ihe
                                                                                                         lo the
                              assigned department;
                                       department;

                      li.     Include a brief summary of the dispute and specify the relief
                                                                                     rallaf requested;
                                                                                            requested; and

                    Itt.
                    IK.       Serve the opposing party                                          melhod of service
                                                                  lo any authorized or agreed method
                                                  parly pursuant to
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.
                                                                                        filing.

                  b.
                  b. Any Answer to
                                lo a Request for                               must:
                                             far Informal Discovery Conference must:

                      i.
                      i.      Also be filed on the approved form(copy attached):
                                                                (copy attached);

                     if.
                     il.                                                                   denied;
                             Include a brief summary of why the requested relief should be denied;
       LACY
       LACIVOX030(new)
                  (MW)
       LASC Aeon:wed   {M/11
             Approved 04111                   STIPULATION —
                                                          - DISCOVERY RESOLUTION
       Far
       far Optional Use
                    Use                                                                                          Page
                                                                                                                 P3g« I of
                                                                                                                        o!33
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       N501101/
       Cr<MI Hill                                                                  CASE Wastrf




                    III.
                    III.   Be filed within
                                    wflhin two (2)
                                               (2) court days of receipt of the Request
                                                                                Request: and

                    Iv.
                    Iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                           method of service that                  (he opposing party receives the
                                                (hat ensures that the                          (he Answer no
                           later
                           la(er than the next court day following the filing.
                                                                       filing.

            c.
            c. No other pleadings,
                        pleadings, including but not            exhibits, declarations,
                                                 nol limited to exhibits, declarations, or attachments,
                                                                                           attachments, will
               be accepted.
                  accepted.

           d.
           d. If the Court has not granted or dented
                                                  denied the Request for Informal Discovery Conference
                                                                                                 Confarance
              within
              wilhin ten (10)
                          (10) days following the fling
                                                    fHlng of the Request,
                                                                 Request. then
                                                                          IKen It
                                                                               it shall be deemed to have
              been denied.
                     darkled. If the Court acts on the Request,
                                                          Request, the parties will
                                                                               wHI be notified
                                                                                        nolified whether the
              Request for informal
                             Informal Discovery Conference has been granted or denied and,    and, If
                                                                                                   if granted,
                                                                                                      granted,
              the date and time of the Informal Discovery Conference,
                                                              Conference, which must be within twenty (20)(20)
              days of the
                       Ihe filing of the Request for Informal Discovery Conference.
                                                                        Conference.

           e.
           e. If the
                 Ihe conference Is not held within twenty (20)
                                                           (20) days of the filing of the
                                                                                      (he Request for
              Informal Discovery Conference,
                                    Conference, unless extended by agreement of the parties and the
              Court,
              Court, then the Request for the Informal Discovery
                                                       Dfscovery Conference shall be deemed to have
              been denied al
                           at that time.
                                   time.

      4.
      4. If (a)
            (a) the Court has denied a conference or (b)(b) one of the time deadlines above has expired
         without the Court having acted or (c)
                                             (c) the Informal Discovery Conference Is
                                                                                    is concluded without
         resolving the dispute,
                       dispute, then a party may file a discovery motion to address unresolved Issues.
                                                                                               Issues.

      5.
      5. The
         The parties
                parlies hereby further agree that the lime for making a motion to compel or other
         discovery motion Is  is lolled
                                 tolled from the date of filing of the Request for Informal Discovery
         Conference until(a)(a) the request Is denied or deemed denied or(b)
                                                                          (b) twenty(20)
                                                                                      (20) days after the
         filing
         fifing of the
                   (he Request for Informal
                                    informal Discovery Conference,
                                                       Conference, whichever Is earlier,
                                                                                eaifler, unless extended
         by Order of the Court.
                          Court.

          It Is
             is the understanding and Intent of the(he parties that this stipulation shall,
                                                                                     shall, for each discovery
          dispute to which it applies,
                                applies, constitute
                                         constilute a writing memorializing
                                                              memonalizing a 'specific
                                                                                 "spednc later date
                                                                                                 dale to which
          the propounding [or[or demanding or requesting]
                                                requesting] party and the responding party have agreed In
          writing,'
          writing,' within the
                           Ihe meaning of Code Civil Procedure sections 2030.300(c),
                                                                              2030.300(c), 2031.320(c),
                                                                                              2031.320(c), and
          2033.290(c).
          2033.290(c).

      6.
      6. Nothing herein Mil
                        witi preclude any party from applying ex parte for appropriate relief,
                                                                                       relief, including
         an order shortening lime
                              Ume for a motion to be heard concerning discovery.
                                                                      discovery.

      7.
      7. Any party may terminate this stipulation by giving twentnne
                                                            twenty-one (21)
                                                                       (21) days notice of intent
                                                                                           Intent to
         terminate the stipulation.
                       stipulation.

      8.
      8. References to "days" mean calendar days,days, unless otherwise noted.
                                                                        r>o(ed. If the date for performing
                                                                                                performir>g
         any act pursuant to this stipulation
                                  slipulation falls on a Saturday,
                                                         Saturday, Sunday or Court holiday,
                                                                                    holiday, then the
                                                                                                   Ihe lime
                                                                                                       time
                                                           next Court
         for performing that act shall be extended to the next  Court day.
                                                                      day.



     LACN   038(new)
     LACrV03C   (nsw)
     LeuSC
     LASC Approved 04111
                     04Mt           STIPULATION —
                                                - DISCOVERY RESOLUTION
     For Optional
         OpU^pi the
                  Use                                                                               Puje 2 o13
                                                                                                    PagpZolS
Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 28 of 49 Page ID #:33



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        The following parties stipulate:
                              stipulate:

        Date:
        Oats:
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      LACIV03e(new)
      lASC Alnenved
      LASC  Affprovod 04111
                      04/11                        - DISCOVERY RESOLUTION
                                       STIPULATION —
      Far
      Far Optional Una
                   Uso                                                                               Page 3 on
                                                                                                     Pa6e3(tf3




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Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 29 of 49 Page ID #:34




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    E.aal
    E-fcMt. ADORE-SS (O^tknal);
            AD0RE55(0eVense:
                  FOR  tW*rt>rt:
        ATTOBWEV FOR Weibel:
       enCeitIEY
    SUPERIOR
    SUPERIOR COURT
             COURT OF
                   OF CALIFORNIA. COUNTY OF
                      CALIFORNIA. COUNTY    LOS ANGELES
                                         OF LOS
   CIAIRTHOUSE
   COUnTheuSE ADeRELS:
               ADONESS:

     LAINTIFF:
    BLAWTtPr:

   DEFENDANT:
   OEPENOANT:'

                                                                                            CASE evs•SEFt:
             STIPULATION
             STIPULATION —
                         - EARLY ORGANIZATIONAL
                                 ORGANIZATIONAL MEETING

         This
         This stipulation  Is Intended
               stipulation Is Intended to
                                        to encourage    cooperation among
                                           encourage cooperation             the parties at
                                                                     among the              an early
                                                                                         at an             In
                                                                                                     stage in
                                                                                               early stage
         the
         the litigation
             litigation and to
                             to assist the
                                       (he parties
                                           parttea in
                                                   In efficient case resolution
                                                                case resolution..

         The parties agree
                     agree that
                           that:

         1.
         1. The
            The parties
                 parties commit
                         commit to
                                 lo conduct
                                    conduci an Initial
                                                 Initial conference    (in-person or via teleconference
                                                         conference (in-person                                 via
                                                                                                            or via
                                                                                             teleconference or
            videoconference)
            vrdeoconfefence) within 15
                                    15 days
                                       days from
                                            from  the
                                                  the  date
                                                        date this
                                                             this stipulallort
                                                                  stipulation  is
                                                                               is signed,
                                                                                  signed, to
                                                                                          to  discuss
                                                                                              discuss end
                                                                                                      and constoer
                                                                                                          consider
            whether
            wnetoer there can be agreement          M/owIng:
                                 a^ement on the following:

             a.
             a. Are
                Are motions
                     motions to to challenge
                                    challenge thelha pleadings necessary?                 issue can
                                                                                    Ihs issue
                                                                  necessary? IfIf the                        resolved by
                                                                                                  can be resolved       by
                amendment
                amendment as  as of right,
                                      right, or if the
                                                    the Court  would   allow  leave   to  amend,
                                                                              leave to amend,       could   an  amended
                                                                                                            an amended
                complaint
                complaint resolve
                          rasotve most or all of the Issues                        olhen^risa raise? if
                                                        Issues a demurrer might otherwise               If so,     parties
                                                                                                           so, the parties
                agree
                agree to
                      lo work
                         worit through
                                through pleading issues
                                                     issues so
                                                            so that a demurrer
                                                                       demurrer need onlyorriy raise issues        cannot
                                                                                                              they cannot
                                                                                                     issues they
                resolve.
                resolve. Is
                         Is the
                            tha Issue
                                 Issue that
                                        lhal the
                                             the defendant
                                                  defendant seeks
                                                             seeks to        amenable to
                                                                    to raise amenable     lo resolution  on demurrer,
                                                                                             resotutlon on              or
                                                                                                             demurrer, or
                would some
                ^uld some     other
                              other  type   of motion   be  preferable?    Could  e
                                                                                  a  volunlary
                                                                                     voluntary   targeted   exchange    of
                                                                                                                        of
                documents
                documents or Information
                               Information by any party cure an uncertainty In      the pleadings?
                                                                                 In the

             b.
             b. Initial
                 Initial mutual exchanges                         “core" of the litigation.
                                  oxchariges of documents at the 'core'                             example. In
                                                                                               [For example,
                                                                                 litigation. (For                 an
                                                                                                               In an
                employment
                employment case, case, the employment
                                           employme records,
                                                     nt records, personnel  file and   documenls     relating to
                                                                                       documents relating to the the
                conduct
                conduct In  In question could be considered           In a personal Injury
                                                             “core.* In
                                                  considered score?                                  an incident
                                                                                               case, an
                                                                                       Irifury case,              or
                                                                                                         IfKtdent or
                police
                police report,
                          report, medical records,                 malnlanance records
                                           records, and repair or maintenance                 could  be  considered
                                                                                                     be considered
                'core.');
                'core.");

             c.
             c. Exchange
                Exchange of names and contact                wilnesses;
                                              Inlormallon of witnesses;
                                      conlact Information

            d.
            d. My
               Any Insurance
                    insurance agreement    lha! may be available to satisfy part or
                               agreement that                                           of aa judgment,
                                                                                    all of
                                                                                 or all                    to
                                                                                                        or to
                                                                                              Judgment, or
               indemnify or reimburse
               indemnify or reimburse for payments  made to satisfy a judgment;
                                                                      judgment

            e.
            e. Exchange
               Exchange of any other Information
                                        information that might
                                                         mi^t be             facHitate understanding,
                                                               bo helpful to facilitate                handling,
                                                                                        underelanding. handing,
               or resolution of
               or resohilion of the case In a manner that preserves objections
                                                                    obJecUons    or privileges by agreement;
                                                                                                  agreement

            f. Controlling Issues
            f.             Issues of law
                                     law that,
                                         that, If resolved  early, will promote
                                                  resoh/ed early,                            and economy
                                                                                  efficlerwy and
                                                                        prorrtote efficiency                  other
                                                                                                           In other
                                                                                                  economy In
               phases
               phases  of the case.
                              case. Also,
                                    Also, when   and  how  such  Issues  can   be presented  to the
                                                                                                the Court;
                                                                                                    Court

            g. Whether
               Whether or when the case should
                                             should be scheduled          seUfemenl officer,
                                                       scheduled with a settlement            what discovery
                                                                                     officer, what           or
                                                                                                   discovery or
            9.
               court
               court ruling
                     ruling on legal
                               legal issues is
                                            Is reasonably required lo
                                                                   to make  settlemenl
                                                                            settlement discussion
                                                                                       discussionss meanlr^ful
                                                                                                    meaningful,,
               and whether the parties wish to use a sitting Judge
               and whether                                     judge or a private mediator  or
                                                                                            or other optlorw as
                                                                                                     options as
       ukciv vs(Rev
       LACivZ2BfRf   02/15)
                  lv 02/15)
       LA-SC *roved
       LASCAppravo   d 0/011
                       04/11          STIPULATION
                                      STIPULATION —       ORGANIZATIONAL MEETING
                                                  - EARLY ORGANIZATIONAL
       Foe
       For Opeartal
           OpUoful Use
                    U£B                                                                                                Page    of2
                                                                                                                       Papo 11 of 2
Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 30 of 49 Page ID #:35



         0^1 TIME
         DORI mic                                                                        CAtf mUslItit
                                                                                         Cat




                    discussed In
                               in the "Alternative
                                      “AHernalive Dispute
                                                   Olspule Resolution (ADR)
                                                                      (ADR) Information
                                                                            information Package'
                                                                                        Package* served with the
                    complaint:
                    complaint:

               h.
               h. Computation of damages,
                                 damages, Including
                                           ir>duding documents,
                                                     documents, not privileged
                                                                    prtvlieged or protected from disclosure,
                                                                                                 disclosure, on
                  which such computation is based;
                                            based;

               I.
               I. Whether the(he case Is suitable
                                         sullabla for the Expedited Jury Trial procedures (see
                                                                                          (see information
                                                                                               informaUon at
                                                                                                           stf
                  wvw.tBcourtora under 'Civil'
                  WWW.MCQUILOM             “ChriT and
                                                  arwl then under 'General
                                                                  "Gener^ informationl.
                                                                           InformaUon’).

        2.
        2.          The
                    The lime
                        time for a defending
                                   defendirrg party to respond to a complaint or cross-complaint will be extended
                                                                                 cross'complaint wilt
                    to                          for the complaint,
                                                         compfainl, and                            for the cross-
                            (MS&n DATE)
                            (Man  DATE)                                           (tNSERrOATS)
                                                                                  (MEW   DATE)
                  complaint,
                  complaint, which is  Is comprised of the 30 days to respond under Government Code§         § 68616(b),
                                                                                                               6661G(b),
                  and
                  and the
                        the 3030 days
                                 days permitted by Code of Civil Procedure section 1054(a),
                                                                                          1054(a). good cause having
                  been
                  been found
                          found by
                                 by the Civil Supervising Judge due to the case management benefitsbeneRts provided by
                  this
                  this Stipulation.
                        Stipulation. A
                                     A copy of the General Order can be foundfourwl at aww.lacourtarq
                                                                                         www.locouTl.ara under "Civil,
                                                                                                                  “C/WT,
                  click
                  click on
                         on 'General
                            '‘General Information",
                                       Information’, then click an
                                                                on 'Voluntary Efficient Litigation
                                                                                        LitlgaUon Stipulations-.
                                                                                                   SlIpulBlians'.

        3.
        3.       The
                 The parties
                       parties will
                               will prepare
                                    prepare aa Joint report tilled 'Joint
                                                                   ’Joint Status Report Pursuant to Initial
                                                                                                      Inilial Conference
                 and Early Organizational Meeting Stipulation,
                                                         Stipulation, and if desired,
                                                                              deslr^, a proposed order summarizing
                 results
                 results of
                          of their
                             th^ meet and confer and advising the Court of any way it may assist the parties'    parties'
                 efficient
                 efficient conduct
                           corxluct or
                                     or resolution of the case.
                                                           case. The parties shall
                                                                                shafl attach the Joint Status Report to(o
                 the
                 the Case
                       Case Management
                              Management Conference statement,
                                                             statement, and file the documents when the CMC
                 statement is due.
                                due.

       4.
       4.        References
                 References toto 'days'
                                 'days* mean calendar days,days, unless otherwise noted.
                                                                                  noted. If the
                                                                                            (he date for performing
                                                                                                         performirtg
                 any
                 any act
                      act pursuant
                          pursuant to
                                    to this
                                       ihis stipulation falls on a Saturday,
                                                                   Saturday, Sunday or Court holiday,
                                                                                              holiday, then the
                                                                                                            Ihe time
                                                                                                                lime
                 for
                 for performing that act shall be extended to the next Court day

       The following
           foliowfng parties
                     parlies stipulate:
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       Dale:
       Daio:

                     (TYPE
                     (TYpe OR PRINT
                              pRirrr NAME)
                                     mame)                                        (ATTORNEY
                                                                                  (ATTORNEY FOR PtAleR1FF)
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       Date:
       Dale:
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                     (TYPE
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                                                                                 (ATTORNEY FOR DEFENDANT)
                                                                                               DEFENDANT)
      Date:
      Osie:
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                     (TYPE
                     (TYPE OR PRINT
                              PRTNT NAME)
                                    NAME)                                        (ATTORNEY
                                                                                 (ATTORNEY FOR DEFENDANT)
                                                                                               OEFENDANT)
      Dale:
      Date:
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                     (TYPE
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                                    NAME)                                       (ATTORNEY
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                                                                                              DEFENDANT)
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                                   NAME)                                   (ATTORNEY
                                                                           (ATTORNEY FOR
      Dale:
      Date:
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                    (TYPE OR PRINT NAME)
                                   NAME)                                  (ATTORNEY
                                                                          (ATTORNEY FOR                             )
      Dale:
      Dale:

                    (TYPE
                    (TYPE OR PRINT NAME)
                                   NAME)                                  (ATTORNEY
                                                                          (ATTORNEY FOR

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     LACIV 229                 STIPULATION —
                                           - EARLY ORGANIZATIONAL MEETING
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Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 31 of 49 Page ID #:36




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    S-MML ADDRESS Mptlanati:
                  |Opdona<);
       ATTORNEY
       ATTORwer FOR Name):
    SUPERIOR COURT          CALIFORNIA. COUNTY OF LOS ANGELES
                   COURT OF CALIFORNIA,               ANGSLES
    COURTHOUSE
    COURfHOUSE ADOTW_SS:
               ADDRESS:


    FIAINTif
    PlAWTtfF:F:


    OEFENOnn"
    DEFENDANT.

                                                                                                   CASfiNUUBCA
                                                                                                   CASII 141:140[R
                        INFORMAL DISCOVERY CONFERENCE
                        INFORMAL
                  (pursuant
                  (pursuant to the Discovery Resolution Stipulation
                                                        Stipuiallon of the
                                                                       tfi9 parties)
                                                                            partlesl
         1.
         1. This document
                 ctocumenl relates lo:
                                   to:


         2.
                    HB Request for Informal Discovery Conference
                       Answer to Request for Informal Discovery Conference
         2. Deadline for Court to decide on Request:
                                            Request: __ _________       (Inssrt date 10
                                                                        (Imen        10 calendar day? foilerang
                                                                                        catendv days  (oUoi-^nQ Ring
                                                                                                                filng <4
                                                                                                                      d
              IheRoquosr)
              the Requast)

         3.
         3. Deadline for Court to hold Informal Discovery Conference:
                                                          Conference:                                           (insert date 20 calendar
                                                                                                                (Insert         ca/andar
              dayi following
              days toeoMfng CON
                             Olng of
                                  oT the
                                     Che Requesi).
                                         RequeM).
         4.
         4. For a Request for Informal                ConferorKO, briefly describe the nature of the
                                infomtal Discovery Conference,
                      dispute, including the facts and legal arguments at Issue.
            discovery dispute,                                               issue. For an Answer to
            Request for Informal Discovery Conference,
                                             Conforenco, briefly describe
                                                                  doscribe why the Court should deny
            the requested discovery,
                          discovery, including
                                     including the facts and legal arguments at issue.
                                                                                issue.




        LACfV 094 (new)
        LACIV      (new)
        lASC Approved 04/11
        LAW             04/11                 INFORMAL DISCOVERY CONFERENCE
                                              INFORMAL
        ForOpUorui
        For          Uas
            Optional Use                (pursuant
                                        (pursuant to the Discovery Resolution
                                                                   Resolutk^ Stipulation of the
                                                                                            (he parties)
                                                                                                parties)




                                                                                                                                           rt.
                                                                                                                                           L ,
Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 32 of 49 Page ID #:37




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         ua AttMS            tMWM
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            TELEPHONE   NO:                                 FAX    (Opllec^:
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    EWA.          lOpOvmi;
          MIORaSS IOpU,Idl:
    e<UUL ADORESS
       ATTORNEY
       ATTORNEY FOR mannr
                POR fftotmh
                          CALIFORNIA. COUNTY OF LOS ANGELES
     SUPERIOR COURT OF CALIFORNIA,
    cot:omit:5E Aocsass:
    COU^»TMOU5BAOOR£SS:“"     '     ......


    PLAurriFF:
    PUUNTIFF;


    OEFENOANT:
    OEFENOANT:

                                                                                       CASE sustain
                                                                                       CAUMiMii£n
                 STIPULATION AND ORDER
                                 ORDER —
                                       - MOTIONS IN
                                                 IN LIMINE


         This stipulation Is Intended to provide fast and Informal
                          Is Intended                         Infonnal resolution of evidentiary
         issues
         issues through diligent efforts to define and discuss such
                                                               such issues
                                                                    issues and limit  paperwork.
                                                                                limit paperwork.


         The parties agree that:
                           that:
         1.
         1. Al least       days before the final status conference,                          ail other
                                                         conference, each party will provide all
            parties                                          explanaU'on of each proposed motion In
            parses with a list containing a one paragraph explanation
            Ilmine.
            limine. Each one paragraph explanation must identify the substance of a single proposed
            motion In limine
                      limine and the                           motion.
                                 (he grounds for the proposed motion.
         2.
         2. The parties
                 parlies thereafter will meet and confer,         in person or via teleconference or
                                                  confer, either in
            videoconference,
            videoconference, concerning all proposed motions in   limine. In
                                                               In limine.                  confer, the
                                                                             thal meet and confer,
                                                                          In that
            parties will
                    wHI determine:
                         determine:

              a.
              a. Whether the parties
                                partes can stipulate to any of the proposed motions.
                                                                              motions, If       parlies so
                                                                                         (f the parties
                 stipulate,
                 stipulate, they may file a stipulation                            Court.
                                            slipulaUon and proposed order with the Court.

              b. Whether any of the proposed motions can be briefed and submitted by means of a
              b.
                 short joint
                        joini statement      issues. For each motion which can be addressed by a short
                              statement of issues.
                 Joint statement
                       statement of issues,
                                      issues, a short                     issues must be filed with the Court
                                                 short joint statement of Issues
                 10
                 10  days   prior  to the final status
                                                status conference.
                                                        conference.   Each    side’s portion of the
                                                                              side's               (he short joint
                 statement    of
                 slalemenl issuesIssues  may  not
                                              nol exceed   three  pages.
                                                                  pages.  The    parties
                                                                                 parlies vrill
                                                                                         will  meet and confer to
                 agree
                 agree   on  a  date  and  manner   for  exchanging  the  parties'
                                                                          parties'   respective   portions of the
                 short joint
                        Joint statement of issues
                                             issues and the process for filing
                                                                            fifing the short joint statement of
                 issues.
                 Issues.

        3.
        3. All
           Ail proposed motions in
                                 In limine that are not either the subject of a stipulation or briefed via
           a short joint statement of issues
                                      issues will be briefed and filed in
                                                                       In accordance with the California
           Rules of Court and the Los Angeles Superior Court Rules.
                                                                 Rules.



        LAW   075(new)
        LACiV075(ndw}
        LAW
        LASC Apporad
              Appravod Nil
                       M/l I                                   - MOTIONS IN
                                         STIPULATION AND ORDER —         IN LIMINE
        For 00000alUse
        Far OpUoral Us4                                                                                      Page
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Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 33 of 49 Page ID #:38



        &WM! ante
        IMMI lrt\s                                                 Litt MAW




       The following parties stipulate:
                             stipulate:
       Date:
       Date:

                     (TYPE
                     {TYPe OR PRINT NAME)
                                    NAME)                      (ATTORNEY
                                                               (ATTORNEY FOR PLAINTIFF)
                                                                             PLAJNTIFF)
       Dale:
       Dale:
                                                      >
                     (TYPE
                     (TYPE OR PRINT NAME)
                                    NAME)                     (ATTORNEY
                                                              (ATTORNEY FOR DEFENDANT)
                                                                            DEFENDANT)
       Dale:
       Date:
                                                      >
                     (TYPE
                     (TYPE OR PRINT NAME)
                                    NAME)                     (ATTORNEY
                                                              (ATTORNEY FOR DEFENDANT)
                                                                            DEFENDANT)
       Date:
       Date:

                     (TYPE
                     (TYPE OR PRINT NAME)
                                    NAME)                     (ATTORNEY
                                                              (ATTORNEY FOR DEFENDANT)
                                                                            DEFENDANT)
       Dale:
       Date:
                                                      >
                     (TYPE
                     (TYPE OR PRINT NAME)
                                    NAME)                 (ATTORNEY
                                                          (ATTORNEY FOR                       J
       Dale:
       Dale:
                                                      >
                     (TYPE
                     (TYPE OR PRINT NAME)
                                    NAME)                 (ATTORNEY
                                                          (ATTORNEY FOR                       J
      Dale:
      Dale:

                     (TYPE
                     (TYPE OR PRINT NAME)
                                    NAME)                 (ATTORNEY
                                                          (ATTORNEY FOR



      THE COURT SO ORDERS.
                   ORDERS.

        Date:
        Date:
                                                                   JUDICIAL.
                                                                   JUniCIAL OFFICER




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     LAClV075(n8w)
     LASC Approved 04111
                   04/t 1     STIPULATION AND ORDER —
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                                                                    sick s
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                                             California, County of Los Angeles
                           Superior Court of California,

                                      ALTERNATIVEPISPUTE
                                      ALfERNATIVE DISpOtE RESOLUTION (APR)
                                                                     (ADR)
                                            :INFORMATION
                                             INFORMATION PACKAGE
    THE PLAINTIFF MUST SERVE THIS ADR INFORMATION
                                      INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT:
                                                                                 COMPLAINT.

    CROS^OMPLAINANTS must serve this ADR Information Package on any new parties named
    CROS*OMPLAINANTS                                                            narned to the action
    with thetross-complaint.
         the cross-complaint



  What is
        Is ADR?
  ADR
  ADR helps
      helps people
             people find
                     Hnd solutions
                         solutions to
                                   to their
                                      thetr legal disputes without going to trial.
                                                                             trial. The main types of AIM
                                                                                                      ADR are negotiation,
                                                                                                              negotiation,
  mediation,
  mediation, arbitration
             arbitration and
                         and settlement conferences.
                                          conferences. When ADR is  Is done by phone or computer,
                                                                                          computer, It
                                                                                                     it may be called Online
  Dispute
  Dispute Resolution
           Resolution (ODR).
                      (OOR). These "alternatives" to litigation and trial are described below.
                                                                                         below.

 Advantages
 Advantages of
            of ADR
               ADR
    •« Saves
        Saves Time:
              Time: ADR
                    ADR is
                         Is faster than going to trial.
                                                  trial.
    •• Saves
        Saves Money:
              Money: Parties
                      Parties can
                               can save
                                   save on
                                        on court costs,
                                                   costs, attorney's fees and witness fees.
                                                                                      fees.
    •• Keeps  Control
        Keeps Control with
                      with the
                            the parties:
                                parties: Parties
                                         Parties choose their ADR
                                                                AOR process and provider for voluntary ADR.
                                                                                                          ADR.
    •• Reduces
        Reduces stress/protects
                stress/protects privacy:
                                  privacy; ADR
                                           ADR isb done
                                                    done outside the courtroom,
                                                                      courtroom. in
                                                                                  In private offices,
                                                                                             offices, by phone or online.
                                                                                                                  online.

 Disadvantages of APR
                    ADR
    •• Costs:
        Costs: If
               If the
                  the parties
                       parties do
                               do not
                                  not resolve
                                      resolve their
                                              their dispute,
                                                    dispute, they may have to pay for ADR and litigation and trial.
                                                                                                             trial.
    •• No
        No Public
           Public Trial:
                    Trial: ADR
                           ADR does
                                does not provide a public trial or a decision by a Judge or Jury.
                                                                                            Jury.

 Main
 Main Types of ADR:
               ADR;

      1.
      1. Negotiation:
         Negotiation: Parties
                      Parties often
                              often talk
                                    talk with
                                         with each
                                               each other
                                                      other in person,
                                                                person, or by phone or online about resolving their case wHh
                                                                                                                         with a
         settlement
         settlement agreement
                    agreement instead
                                Instead of
                                         of a
                                            a trial.
                                              trial. If
                                                     If the parties have lawyers,
                                                                         lawyers, they will negotiate for their clients.
                                                                                                                clients.

      2.
      2. Mediation:
         Mediation: in
                     In mediation,
                        mediation, aa neutral
                                      r>eutrai "mediator
                                               "mediator" listens to each person's concerns,
                                                                                   concerns, helps them evaluate the
         strengths
         strengths and
                   and weaknesses
                        weaknesses ofof their case,
                                              case, and works with them to try to create a settlement agreement that is   Is
         acceptable
         acceptable to
                    to all.
                        all. Mediators
                             Mediators do
                                        do not
                                           not decide
                                                decide the
                                                       the outcome.
                                                           outcome. Parties may go to trial if they decide not to settle.
                                                                                                                  settle.

                      Mediation
                      Mediation may
                                may bebe appropriate when the parties
                         •• want to work
                             want  to work out
                                            out aa solution but need help from a neutral person.
                                                                                          person.
                         •• have
                             have communication
                                   communication problems
                                                     problems or
                                                               or strong emotions that interfere with resolution.
                                                                                                      resolution.
                      Mediation
                      Mediation may
                                may not be appropriate when the parties
                         •• want
                             want aa public
                                     public trial and want a judge or Jury to decide the outcome.
                                                                    orjury               outcome.
                         •• lack
                             lack equal
                                  equal bargaining
                                        bargaining power
                                                     power or
                                                            or have a history of physical/emotional abuse.
                                                                                                    abuse.

                                                                                                                         LASC1
                                                                                                                         LASCl
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CattfomU Rules  of Court,rule 3 221
          RotetofCogrt,
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                                         How
                                         How te  arrange Mediation
                                              to arrange  mediation In
                                                                     In Los AngeleiCoanty°
                                                                            Ai^k CourI^*                _
       Mediatioefordiell
       Mediation for.dvil cases is                                       mediator they
                                Is voluntary and parties may select any Mediator       wish. ()talons
                                                                                  th^ wish:           incfiide:’
                                                                                             Options Include(

                 a.
                 a. The QWI Medlailon,Vendor
                    T^Qyll   Medl.adon.Ventlpr Resource
                                               RKource List
                      partlei
                      Parties may contact       qr^hUatlons to request a =Resource
                                  contect theseOrganizations                                             reduced^^ or
                                                                                         Mediatldh^^foV redUcedlcolt
                                                                          "Resou^^ List MediailoWildr
                                treeiftirielectedcalis)
                                R^e(forsel^e  d,casu)   mediation In f^rean
                                                        mediatiOn loperscin Otivitn
                                                                            prKWitiijDpR ibyj^^
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                                                               253»9776-mda      gilarnsadr:com
                                                                            w«dh@lamsad   r.com                                             j
                      ••      M^latton  Center     LOS
                                                prios
                              Mediation e.enter of     Angeles:
                                                       Angeies: Case Mana^n
                                                                     Manager'(833)           InfogmedlatlonUCorg
                                                                                             infOPthedlotiontg.tht                              ■


                 These organizations
                 TfiMe^ganlxa    tions cannot  accept every case andthey
                                       cannot^accept                     they may decline cases atthelidiscretion.
                                                                                                   at Acir discretiop.
                          www.(acourt.org/ADR.R^es.ltst for
                    Visit 1;vww.laCOUrt.orriJADR.Fies,Liss  fpr Important   inforTnatipn and
                                                                Im^rtant Inforniitian              before contiang
                                                                                             PAQs before
                                                                                         and PAW                       them.
                                                                                                          conta'^ng them.
                    AOTE
                     NOTE: This
                             ^Is 'senilce    not aialitiblefeitfarrillvlaw.
                                          b pot
                                  service is                                                  claims^.
                                                                                        small elatmS:,
                                                                            orobate orsmall
                                                 available for-farnllv law,-orObite                                                     i


                 I.
                 b. Lis   Angeies County Olipute
                     lbs Angeles             DisputeResolution    Programs
                                                      Resolution Programs
                    Intbs://wdacs.lacotmtv.aov/ormtraIns/dro/
                    https://wdacs.  lacountv.gov/o     rogram5/drD/
                         •• Free,
                             Free, day-   of? trial
                                    day- Of.  trial mediations
                                                    mediations at the courthouse for Small
                                                                                        small claims,
                                                                                              claims, unlawful  detainers (evictions)
                                                                                                      unlav/ful detalneri(eViCtiOns).
                             and,"    the Stanley Mosk Courthouse,
                             and, at theitanley            Courthouse, limited cM!.                     needed.'
                                                                                civil. No appointment needed:
                        •• Free
                             Fi;ee or
                                   or lOW,cost
                                      bw_-cost medlitions                dav of trial for these
                                                  mediations before the day                          other case
                                                                                          tfee and other          types.
                                                                                                            c^e types.
                        •• For   ODR    by-phone-or   ComputerifOr
                             For ODR by phone or computer for       small
                                                                     small claims  or  unbwfid
                                                                                       unlawful detainee'
                                                                                                detainer (eviction)
                                                                                                          (eviction)       before the i
                                                                                                                     cases beforethe
                             day  of trial,
                                     trtel, visit
                                            vbit
                             http://www.lacourt.ore/drvi5k?n/smailclalms/odf/QnllneDlspuronffwlutiQnFlver-EngSDan.odf
                             htto://www.lacourt.onz/divIsion/smallclaims/odf/OnlIneDIsputeResalutIonFlver-EniSoan.ridf

                c.
                c. Mediators
                   Mediators and ADR and Bar
                             and ADR     Bar organizations                                          internet.
                                             Denizations that provide mediation may be found on the Internet.




      3.
      3. Arbitration:
         Arbitration: Arbitration
                        Arbitration is
                                    Is less
                                       less formal
                                            format than trial,
                                                          trial, but like
                                                                     like trial,                                      arguments to
                                                                          trial, the parties present evidence and arguments           the
                                                                                                                                   to the
         person    who decides  the outcome.     In
         person who decides the outcome. In "binding"
                                                    "binding’* arbitration,
                                                                arbitration,  the  arbitrator's decision is final;
                                                                                                         Is final; there is
                                                                                                                         Is no right to
         trial.
         trial, In
                in "nonbinding"
                   "nonblndlng" arbitration,
                                 arbitration, any                                                                       more
                                                                                                         decbion. For more
                                                any party can request a trial after the arbitrator's decision.
         information   about  arbitration,
         information about arbitration,     visit
                                            visit htto:/Avww.courts.ca.zoviorograms-adr.htm
                                                  http;//www.c     ourts.ca.eov/D    rograms-adr.h   tm

      4.
      4. Mandatory
         Mandatory Settlement
                      Settlement Conferences
                                   Conferences (MSC):
                                                 (MSC): MSCs are ordered by the Court and are often held close to  to the trial
                                                                                                                      the trial
         date. The  parties
         date. The parties  and  their attorneys meet with a Judge
                                                             judge or settlement  officer who  does  not make
                                                                                                         make  a
                                                                                                               a decision
                                                                                                                 decision but
                                                                                                                          but
         assists the parties
         assists the parties In
                             In evaluating
                                evaluating the strengths
                                               strengths and weaknesses  of the  case and in
                                                                                           in negotiating a settlement.
                                                                                                            settlement.
         For
         For information
             Information about the Court's MSC programs for civil cases,
                                                                    cases, visit: www.tacourt.org/divislon/civil/5ettlement
                                                                           vbit: www.lacourt.orddivisioniciviffsettlernent




Los
Los Angeles
    Angeles Superior
             Superior Court
                      Court ADR website:  www.iacourt.org/division/civil/settlement
                                 website: www.lacourtorg/divisionicivilisettlement
For
For general
    general information
            information and  videos about ADR,
                                          AOR,       http://www.courts.ca.gov/programs-adr.htm
                                               visit http://www.courts.ca.gov/programs-adr.htm




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lASCCtV27:  NSW 03/19
    Mjndiigrv use
for Mandatory Uie
Collionga
CsHfomia Rules of
               ol Court
                  Court, Me
                         rule 3.221
                              3.2ii
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   11                                                                                        Los Angeles
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                                                                            Sherri ^Carter,      theOffleaftlerk
                                                                                             E^UveOnieer/Clerk
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                                                                             By.> e t.„ :4
                                                                             Ey           ^             .Deputy
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   4                                                                               afflealluda Mina
                                                                                ^StollBdaMtoa

   5
                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
   6
                                      FOR THE COUNTY OF LOS ANGELES
   7
   8    IN RE LOS ANGELES SUPERIOR COURT)
                                   COURT )                 FIRST AMENDED GENERAL ORDER
        —
        - MANDATORY ELECTRONIC FILING )  )
   9    FOR CIVIL                        )
                                         )
  10
  10                                     )
  11

• 12
  12           On December 3,2018,the Los Angeles County Superior Court mandated electronic filing of all
                           3,2018,
  13
  13    documents in Limited Civil cases by litigants represented by attorneys.            2, 2019,
                                                                     attorneys. On January 2, 2019, the Los
  14
  14    Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
  15
  15    Unlimited Civil cases by litigants represented by attorneys.
                                                          attorneys. (California
                                                                     (California Rules of Court,
                                                                                          Court, rule 2.253(b).)
                                                                                                      2.253(b)0
  16
  16    All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
 17
 17     following:
        following:
 18
 18     I) DEFINITIONS
        I)
 19
 19        a) ^‘Bookmark’’ A bookmark is a PDF document navigational tool that allows the reader to
           a) "Bookmark"
 20            quickly locate and navigate to a designated point of interest within a document.
                                                                                      document.
 21        b)
           b) 'Tiling   Portal” The official court website includes a webpage,
              ‘‘Efiling Portal"                                       webpage, referred to as the efiling
 22            portal, that gives litigants access to the approved Electronic Filing Service Providers.
               portal,                                                                       Providers.
 23        c) "Electronic
           c)              Envelope” A transaction through the electronic service provider for submission
              ^*£iectronic Envelope"
 24           of documents to the Court for processing which may contain one or more PDF documents
 25           attached.
              attached.
 26       d)
          d) "Electronic
             ‘‘Electronic Filing"
                          Filing” Electronic Filing (eFiling)
                                                    (eFiling) is the electronic transmission to a Court of a
 27           document in electronic form.
                                     form. (California
                                           (California Rules of Court,
                                                                Court, rule 2.250(b)(7).)
                                                                            2.250(b)(7).)
 28

                                                               1
                          FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING
                                                                              RLTNO FOR CIVIL
 Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 37 of 49 Page ID #:42
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                                                                                                   2019>CEN>0l4-00



     1     e)                            Provider” An Electronic Filing Service Provider(EFSP)
              *^l€ctronic Filing Service Provider"
           e) "Electronic                                                               (EFSP) is a
 2             person or entity that receives an electronic filing from a party for retransmission to the Court.
                                                                                                          Court.
 3             In the submission of filings,
                                    filings, the EFSP does so on behalf of the electronic filer and not as an
 4             agent of the Court.
                            Court. (California
                                   (California Rules of Court,
                                                        Court, rule 2.250(b)(8).)
                                                                    2.250(b)(8).)
 5         1)
           f) "Electronic
              ^^lectronlc Signature"
                          Signature” For purposes of these local rules and in conformity with Code of
 6             Civil Procedure section 17,
                                       17, subdivision (b)(3),
                                                       (b)(3), section 34,
                                                                       34, and section 1010.6,
                                                                                       1010.6, subdivision
 7            (b)(2), Government Code section 68150,
              (b)(2),                         68150, subdivision (g),
                                                                 (g), and California Rules of Court,
                                                                                              Court, rule
 8             2.257,
               2.257, the term "Electronic Signature" is generally defined as an electronic sound,
                                                                                            sound, symbol,
                                                                                                   symbol, or
 9             process attached to or logically associated with an electronic record and executed or adopted
10
10             by a person with the intent to sign the electronic record.
                                                                  record.
11
11         g)
           g) "Hyperlink"
              *^HyperIink” An electronic link providing direct access from one distinctively marked place
12
12             in a hypertext or hypermedia document to another in the same or different document.
                                                                                         document.
13
13         h)
           h) 'Portable
              *‘Portable Document Format"
                                  Format” A digital document format that preserves all fonts,
                                                                                       fonts,
14
14            formatting,
              formatting, colors and graphics of the original source document,
                                                                     document, regardless of the application
15
15            platform used.
                       used.
16
16       2)
         2) MANDATORY ELECTRONIC FILING
17
17         a)
           a) Trial Court Records
18
18            Pursuant to Government Code section 68150,
                                                  68150, trial court records may be created,
                                                                                    created, maintained,
                                                                                             maintained,
19
19            and preserved in electronic format.
                                          format. Any document that the Court receives electronically must
20            be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21
21            official court record (California
                                    (California Rules of Court,
                                                         Court, rules 2.100,
                                                                      2.100, et seq.
                                                                                seq. and 2.253(b)(6)).
                                                                                         2.253(b)(6)).
22         b)
           b) Represented Litigants
23            Pursuant to California
                          CaJifomia Rules of Court,
                                             Court, rule 2.253(b),
                                                         2.253(b), represented litigants are required to
24            electronically file documents with the Court through an approved EFSP.
                                                                               EFSP.
25         c)
           c) Public Notice
26            The Court has issued a Public Notice with effective dates the Court required parties to
                                                                                                   Co
27            electronically file documents through one or more approved EFSPs.
                                                                         EFSPs. Public Notices containing
28
28            effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.ora.
                                                                         Court’s website     www.lacQurt.org.

                                                               2
                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING
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     1        d)
              d) Documents in Related Cases
 2                Documents in related cases must be electronically filed in the eFiling portal for that case type if
 3               electronic filing has been implemented              type, regardless of whether the case has
                                            Implemented in that case type,
 4                been related to a Civil case.
                                          case.
 5        3)
          3) EXEMPT LITIGANTS
 6            a) Pursuant to California Rules of Court,
              a)                                             2.253(b)(2), self-represented litigants are exempt
                                                 Court, rule 2.253(b)(2),
 7               from mandatory electronic filing requirements.
                                                  requirements.
 8            b) Pursuant to Code of Civil Procedure section 1010.6,
              b)                                             1010.6, subdivision (d)(3)
                                                                                 (d)(3) and California Rules of
 9               Court,      2.2S3(b)(4). any party may make application to the Court requesting to be excused
                 Court, rule 2.253(b)(4).
10
10               h’om filing documents electronically and be permitted to file documents by conventional
                 from
11
II               means if the party shows undue hardship or significant prejudice.
                                                                        prejudice.
12
12       4)
         4) EXEMPT FILINGS
                   FO-INGS
13
13            a)
              a) The following documents shall not be filed electronically:
                                                            electronically:
14
14               i)
                 i)    Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15
15                     Civil Procedure sections 170.6
                                                170.6 or 170.3;
                                                         170.3;
16
16               ii)
                 ii)   Bonds/Undertaking documents;
                                         documents;
17               iii) Trial and Evidentiary Hearing Exhibits
                 iii)
18
18               iv)
                 iv) Any ex parte application that is filed concurrently with a new complaint including those
19
19                     that will be handled by a Writs and Receivers department in the Mosk courthouse;
                                                                                            courthouse; and
20               v)
                 v)    Documents submitted conditionally under seal.
                                                               seal. The actual motion or application shall be
21                                    filed. A courtesy copy of the electronically filed motion or application to
                       electronically filed.
22                     submit documents conditionally under seal must be provided with the documents
23                     submitted conditionally under seal.
                                               undersea!.
24            b) Lodgments
              b)
25               Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
26       paper form.
               form. The actual document entitled, ^‘Notice of Lodgment,"
                                         entitled, "Notice     Lodgment,” shall be filed electronically.
                                                                                         electronically.
27       //
         //

28       /I
         //

                                                           3
                           RRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING
                           FIRST                                              RUNG FOR CIVIL
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                                                                                                2019-GEN^14.00



 1   5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
     5)
 2       Electronic filing service providers must obtain and manage registration information for persons
 3       and entities electronically filing with the court.
                                                     court.
 4   6)
     6) TECHNICAL REQUIREMENTS
 5                                                               PDF« text searchable format when
         a) Electronic documents must be electronically filed in PDF,
         a)
 6           technologically feasible without impairment of the document's image.
                                                                           image.
 7       b) The table of contents for any filing must be bookmarked.
         b)                                              bookmarked.
 8                                                          to, declarations,
                       documents, including but not limited to,
         c) Electronic documents,
         c)                                                                             service, and
                                                                declarations, proofs of service,
 9           exhibits, must be bookmarked within the document pursuant to California Rules of Court,
             exhibits,                                                                        Court, rule
10
10           3.1110(f)(4). Electronic bookmarks must include links to
             3.1110(0(4).                                                 fast page of each bookmarked
                                                                   Co the first
11
11          item (e.g. exhibits, declarations,
                 (e.g. exhibits,                          excerpts) and with bookmark titles that identify the
                                 declarations, deposition excerpts)
12
12           bookedmarked item and briefly describe the item.
                                                        item.
13
13                                                   bookmarked. Examples include,
         d) Attachments to primary documents must be bookmarked.
         d)                                                               include, but are not
14
14           limited to,
                     to, the following:
                             following:
15
15          i)
            i)    Depositions;
                  Depositions;
16
16          ii)
            ii)   Declarations;
                  Declarations;
17
17          iii)          (including exhibits to declarations);
            iii) Exhibits (including             declarations);
18
18          iv)             (including excerpts within transcripts);
            iv) Transcripts (including                 transcripts);
19
19          v)
            v)    Points and Authorities;
                             Authorities;
20          vi)
            vi) Citations;
                Citations; and
21
21          vii)
            vii) Supporting Briefs.
                            Briefs.
22                                                                       exhibits) is strongly
                                              (including attachments and exhibits)
         e) Use of hyperlinks within documents(including
         e)
23          encouraged.
            encouraged.
24       0 Accompanying Documents
         t)
25          Each document acompanying a single pleading must be electronically filed as a separate
26          digital PDF document.
                        document,
27
27       g) Multiple Documents
         g)
28          Multiple documents relating to one case can be uploaded in one envelope transaction.
                                                                                    transaction.

                                                              4
                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                                                                                   20I9-GEN.014-00



     1      h)
            h) Writs and Abstracts
     2          Writs and Abstracts must be submitted as a separate electronic envelope.
                                                                               envelope.
     3      i)
            i) Sealed Documents
 4             If and when a judicial officer orders documents to be filed under seal,
                                                                                 seal, those documents must be
 5             filed electronically (unless
                                    (unless exempted under paragraph 4);
                                                                     4); the burden of accurately designating
 6             the documents as sealed at the time of electronic submission is the submitting party's
 7             responsibility.
               responsibility.
 8          j)
            j) Redaction
 9             Pursuant to California Rules of Court,
                                               Court, rule 1.201,
                                                           1.201, it is the submitting party's
                                                                                       party’s responsibility to
10
10             redact confidential information(such
                                              (such as using initials for names of minors,
                                                                                   minors, using the last four
11
11             digits of a social security number,
                                           number, and using the year for date of birth)
                                                                                  birth) so that the information
12
12             shall not be publicly displayed.
                                     displayed.
13
13       7)
         7) ELECTRONIC FILING SCHEDULE
14
14          a)
            a) Filed Date
15
15             i)
               i) Any document received electronically by the court between 12:00
                                                                            12:00 am and 11:59:59
                                                                                         11:39:59 pm
16
16                 shall be deemed to have been effectively filed on that court day if accepted for filing.
                                                                                                    filing. Any
17
17                 document received electronically on a non-court day,
                                                                   day. is deemed to have been effectively
18
18                 filed on the next court day if accepted.
                                                  accepted. (California
                                                            (California Rules of Court,
                                                                                 Court, rule 2.253(b)(6);
                                                                                             2.253(b)(6); Code
19
19                 Civ.
                   Civ. Proc.
                            §1010.6(b)(3).)
                        Proc.§ 1010.6(b)(3).)
20             ii)
               ii) Notwithstanding any other provision of this order,
                                                               order, if a digital document is not filed in due
21                course because of:
                                 of: (1)
                                     (1) an interruption in service;
                                                            service; (2)
                                                                     (2) a transmission error that is not the
22                fault of the transmitter,
                               transmitter, or(3)
                                              (3) a processing failure that occurs after receipt,
                                                                                         receipt, the Court may
23                order,
                  order, either on its own motion or by noticed motion submitted with a declaration for Court
24                consideration,
                  consideration, that the document be deemed filed and/or that the document's
                                                                                   document’s filing date
25                conform to the attempted transmission date.
                                                        date.
26       8)
         8) EX PARTE APPLICATIONS
27         a)
           a) Ex parte applications and all documents in support thereof must be electronically filed no later
28            than 10:00 a.m.
                         a.m. the court day before the ex pane
                                                          parte hearing.
                                                                hearing.

                                                               55
                         FIRST
                         RRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING
                                                                            RLING FOR CIVIL
 Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 41 of 49 Page ID #:46
                                                                                                 20 I9-GEN-014-00
                                                                                                 2019-GEN-OI4>00



     1      b) Any written opposition to an ex parte application must be electronically filed
            b)                                                                          riled by 8:30 a.m.
                                                                                                      a.m. the
 2                                 hearing. A printed courtesy
               day of the ex parte hearing.           counesy copy of any opposition to an ex parte
                                                                                              pane
 33            application must be provided to the court the day of the ex parte
                                                                           pane hearing.
                                                                                 hearing.
 4       9)
         9) PRINTED COURTESY COPIES
                             COPES
 5         a)
           a) For any filing                riled two or fewer days before the hearing,
                      riling electronically filed                              hearing, a courtesy copy must
 6             be delivered to the courtroom by 4:30 p.m.
                                                     p.m. the same business day the document is efiled.
                                                                                                eriied. If
 7                 eriling is submitted after 4:30 p.m.,
               the efiling                         p.m., the courtesy copy must be delivered to the courtroom
 88            by 10:00
                  10:00 a.m.
                        a.m. the next business day.
                                               day.
 9         b) Regardless of the time of electronic filing,
           b)                                      riling, a printed courtesy copy (along
                                                                                   (along with proof of
10
10                        submission) is required for the following documents:
               electronic submission)                               documents:
11
11             i)
               i)    Any printed document required pursuant to a Standing or General Order;
                                                                                     Order;
12
12            ii)
              ii)                          (including attachments such as declarations and exhibits)
                     Pleadings and motions (including                                      exhibits) of 26
13
13                   pages or more;
                              more;
14
14            iii)
              iii)   Pleadings and motions that include points and authorities;
                                                                   authorities;
15
15            iv)
              iv)    Demurrers;
                     Demurrers;
16
16            v)
              v)     Anti-SLAPP filings,
                                filings, pursuant to Code of Civil Procedure section 425.16;
                                                                                     425.16;
17
17            vi)
              vi)    Motions for Summary Judgment/Adjudication;
                                         Judgment/Adjudication; and
18
18           vii)
             vii)    Motions to Compel Further Discovery.
                                               Discovery.
19
19         c)
           c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20            additional documents.
                         documents. Courtroom specific courtesy copy guidelines can be found at
21            www.lacourt.org on the Civil webpage under "Courtroom
                                                         “Courtroom Information."
                                                                    Information.”
22
22       0)
         0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23         a)
           a) Fees and costs associated with electronic filing must be waived for any litigant who has
24            received a fee waiver.
                             waiver. (California
                                     (California Rules of Court,
                                                          Court, rules 2.253(b)(),
                                                                       2.253(b)0, 2.258(b),
                                                                                   2.258(b), Code Civ.
                                                                                                  Civ. Proc.
                                                                                                       Proc.§§
25            1010.6(d)(2).)
              1010.6(d)(2).)
26         b)
           b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27            section 1010.6,
                      1010.6, subdivision (b)(6),
                                          (b)(6), and California Rules of Court,
                                                                          Court, rule 2.252(0,
                                                                                      2.252(f)> may be
28            electronically filed
                             riled in any authorized action or proceeding.
                                                               proceeding.

                                                         6
                         FIRST
                         RRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING
                                                                            RUNG FOR CIVIL
 Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 42 of 49 Page ID #:47
                                                                                                   2019-GEN-014-00
                                                                                                   2019.GEN-014.00



     1    1) SIGNATURES ON ELECTRONIC FILING
         11)
 2                                       Order, all electronic filings must be in compliance with California
            For purposes of this General Order,
 3          Rules of Court,
                     Court, rule 2.257.
                                 2.257. This General Order applies to documents filed within the Civil
 4          Division of the Los Angeles County Superior Court.
                                                        Court.
 5

 6              This First Amended General Order supersedes any previous order related to electronic filing,
                                                                                                     filing,
 7                        immediately, and is to remain in effect until otherwise ordered by the Civil
         and is effective immediately,

 a8      Supervising Judge and/or Presiding Judge.
                                            Judge.
                                                                                                     dr

 9
                                         0.
                                          010Rf
                                             s—rIi.
10
                                                     oe,
10       DATED:
         DATED: May 3,
                    3, 2019
                                     k                  O     KEVIN C.C. BRAZILE
11
11                                                      "PI
                                                              Presiding Judge
12
12

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                                                          7
                          FIRST
                          RRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING
                                                                             FlUNG FOR CIVIL
     Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 43 of 49 Page ID #:48
                                                                                                         Reserved for Clerk's File Stamp
              SUPERIOR COURT OF CALIFORNIA
                 COUNTY OF LOS ANGELES                                                                            FILED
 COURTHOUSE ADDRESS:                                                                                 s        iot Can't of Caidarrtia
                                                                                                             imIty of LOS MOOS
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012                                                                  C6/18/2019
 PLAINTIFF:                                                                                Slew R Carter,Executve 0Scer ti Clerk Of Cour
 Marlene, an individual and as Trustee Kristovich et al                                                           Cam!Eth
 DEFENDANT:                                                                                    8y:                                         DePutY
 Bank of America, N.A., a national banking association
                                                                                           CASE NUMBER
              NOTICE OF CASE MANAGEMENT CONFERENCE                                             19STCV19173
TO THE PLAINTIFF(S)/ATTORNEY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve this notice of hearing on all parties/attorneys of record forthwith, and meet and confer with all
parties/attorneys of record about the matters to be discussed no later than 30 days before the Case Management Conference.
Your Case Management Conference has been scheduled at the courthouse address shown above on:

                                     Date:                     Time:                  Dept..
                                             09/17/2019                8:30 AM                 17

NOTICE TO DEFENDANT: THE SETTING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
                       DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAW.

Pursuant to California Rules of Court, rules 3.720-3.730, a completed Case Management Statement (Judicial Council form #
CM-110) must be filed at least 15 calendar days prior to the Case Management Conference. The Case Management Statement
may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record. You must be familiar with the
case and be fully prepared to participate effectively in the Case Management Conference.

At the Case Management Conference, the Court may make pretrial orders including the following, but not limited to, an order
establishing a discovery schedule; an order referring the case to Alternative Dispute Resolution (ADR); an order reclassifying the
case; an order setting subsequent conference and the trial date; or other orders to achieve the goals of the Trial Court Delay
Reduction Act (Gov.Code,§68600 et seq.)

Notice is hereby given that if you do not file the Case Management Statement or appear and effectively participate at the Case
Management Conference, the Court may impose sanctions, pursuant ,      ,IfiLitftig focal Rule 3.37, Code of Civil Procedure
sections 177.5, 575.2, 583.150, 583.360 and 583.410, Government Cod                   8,subilkiii4641 Ca6fornia Rules of
                                                                                                        c. mac°
Court, rule 2.2 et seq.


Dated:    06/18/2019                                                                           Richard E Rico Judge
                                                                                                 Judicial Officer

                                                    CERTIFICATE OF SERVICE

I, the below named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a party to the cause
he in, and that on this date I served the Notice of Case Management Conference upon each party or counsel named below:

    by depositing in the United States mail at the courthouse in Los Angeles               , California, one copy of the original
    filed herein in a separate sealed envelope to each address as shown below with the postage thereon fully prepaid.

    by personally giving the party notice upon filing of the complaint.
     Neville L Johnson
     439 N Canon Dr Suite 200
     Beverly Hills, CA 90210
                                                                           Sherri R.Carter, Executive Officer / Clerk of Court

Dated: 06/18/2019                                                                                    By Carol Ellis
                                                                                                                  Deputy Clerk
LACIV 132 (Rev.07/13)                                                                                            Cal. Rules of Court, rules 3.720-3.730
LASC Approved 10-03
                                          NOTICE OF                                                              LASC Local Rules, Chapter Three
For Optional Use                CASE MANAGEMENT CONFERENCE
   Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 44 of 49 Page ID #:49

                                                                                    Reserved for Clerk's Fi le Stamp
          SUPERIOR COURT OF CALIFORNIA
             COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:                                                                           FILED
                                                                                     Superior Court of Catania
Stanley Mosk Courthouse                                                                County of Los Angeles
111 North Hill Street, Los Angeles, CA 90012                                               06/18/2019
                                                                                      Carts,Exa iveOfica-!t witafCaul
PLAINTIFF(S):
                                                                              gar            Carat alts        Deputy
Marlene, an individual and as Trustee Kristovich et al
DEFENDANT(S):

Bank of America, N.A., a national banking association
                                                                              CASE NUMBER:
                     ORDER TO SHOW CAUSE HEARING
                                                                             19STCV19173

To the party / attorney of record:
You are ordered to appear for an Order to Show Cause Hearing on 06/21/2019 at 8:30 AM                              in
department17 of this court, Stanley Mosk Courthouse
and show cause why sanctions should not be imposed for:
[i]      Failure to file proof of service.

Failure to comply or appear may result in sanctions pursuant to one or more of the following: California
Rules of Court, rule 2.30 and rule 3.1340; Code of Civil Procedure sections 177.5, 575.2, 583.150,
583.310, 583.360, 583.410, 583.420, 583.430; and Government Code section 68608.

[j]      To avoid a mandatory appearance all required documents must be filed at least 5 days prior to the
         date of the hearing.




                                                                       Richard E.Rico


Dated: 06/18/2019                                                 Richard E. Rico /Judge
                                                                        Judicial Officer




                                        ORDER TO SHOW CAUSE HEARING
 LACIV 166 (Rev.09/08)                                                                     Cal. Rules of Court, rule 2.30
 LASC Approved 06-04                                                                       LASC Local Rules, Chapter 7
 Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 45 of 49 Page ID #:50


                                                                                   Reserved for Clerk's File Stamp
           SUPERIOR COURT OF CALIFORNIA
              COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:                                                                         FILED
                                                                                 &quarto.Court of Catania
Stanley Mosk Courthouse                                                            County of Los Angeles
111 North Hill Street, Los Angeles, CA 90012
                                                                                        06/18/2019
PLAINTIFF/PETITIONER:                                                      Stiern R.Clow,iE xemitive Officer Oa& of Cow
Marlene, an individual and as Trustee Kristovich et al                       By             Carol Elit         Deputy
DEFENDANT/RESPONDENT:
Bank of America, N.A., a national banking association
                                                                           CASE NUMBER:
                        CERTIFICATE OF MAILING                             19STCV19173

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Order to Show Cause Failure to File Proof of
Service upon each party or counsel named below by placing the document for collection and mailing so as
to cause it to be deposited in the United States mail at the courthouse in Los Angeles, California, one copy
of the original filed/entered herein in a separate sealed envelope to each address as shown below with the
postage thereon fully prepaid,in accordance with standard court practices.




    Neville L Johnson                                         Robert Paredes
    JOHNSON & JOHNSON LLP                                     Johnson & Johnson LLP
    439 N Canon Dr Suite 200                                  439 N.Canon Drive, Suite 200
    Beverly Hills, CA 90210                                   Beverly Hills, CA 90210




                                                     Sherri R.Carter, Executive Officer / Clerk of Court

Dated: 06/18/2019                                    By: Carol Ellis
                                                         Deputy Clerk




                                      CERTIFICATE OF MAILING
                   Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 46 of 49 Page ID #:51
Electronically FILED by Superior Court of California, County of Los Angeles on 06/20/2019 10:15 AM Sherri R. Carter, Executive Officer/Clerk of Court, by J. So,Deputy Clerk



                ATTORNEY OR PARTY WITHOUT ATTORNEY (name and Address)                                                                     FOR COURT USE ONLY
                NEVILLE L. JOHNSON,(SBN 66329)
                RONALD P. FUNNELL,(SBN 209897)
                JOHNSON & JOHNSON LLP
                439 N. CANON DRIVE, SUITE 200
                BEVERLY HILLS, CA 90210

                TELEPHONE NO:(310) 975-1080                FAX NO (Optional):
                E—MAIL ADDRESS (Optional)
                ATTORNEY FOR (Name): PLAINTIFFS MARLENE KRISTOVICH, ET AL.
                SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                STREET ADDRESS: 111 N HILL ST.
                MAILING ADDRESS:
                CITY AND ZIP CODE: LOS ANGELES, CA 90012
                BRANCH NAME: STANLEY MOSK COURTHOUSE
                PLAINTIFF/PETITIONER: MARLENE KRISTOVICH, ET AL.                                                                CASE NUMBER: 19STCV19173


                DEFENDANT/RESPONDENT: BANK OF AMERICA, N.A., ET AL.


                                        PROOF OF SERVICE OF SUMMONS                                                             Ref No or File No   1086787JS


                                                           (Separate proof of service is required for each party served.)
            1      At the time of service I was at least 18 years of age and not a party to this action.
            2       I served copies of :
                         a.E1      Summons
                        b.EI        Complaint
                        c El        Alternative Dispute Resolution (ADR) package
                        d El        Civil Case Cover Sheet (served in complex cases only)
                        e❑          cross-complaint
                        f. El       other (specify documents): CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION;
                                    NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE; VOLUNTARY EFFICIENT LITIGATION
                                    STIPULATIONS; FIRST AMENDED GENERAL ORDER

           3.           a. Party served: (specify name of party as shown on documents served):
                           BANK OF AMERICA, N.A., A NATIONAL BANKING ASSOCIATION
                        b. Person served (other than the party in item 3a)served on behalf of an entity or as an authorized agent(and not a person
                           under item 5b on whom substituted service was made)(specify name and relationship to the party named in item 3a):
                           REGISTERED AGENT, CT CORPORATION SYSTEM, BY SERVING DAISY MONTENEGRO, PROCESS
                         SPECIALIST
           4.           Address where the party was served: 818 W. 7TH ST., STE.930
                                                               LOS ANGELES,CA 90017
           5. I served the party (check proper box)
                     a. El by personal service I personally delivered the documents listed in item 2 to the party or person authorized to
                            receive service of process for the party (1) on (date): JUNE 14, 2019 (2) at: (time) 12:40 PM

                        b.❑ by substituted service. On (date):                   at: (time)          . I left the documents listed in item 2
                                with or in the presence of (name and title or relationship to the person indicated in item 3):
                                    (1) ❑ (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                               of the person to be served. I informed him or her of the general nature of the papers.
                                   (2) ❑ (home)a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                                place of abode of the party. I informed him or her of the general nature of the papers.
                                   (3) ❑ (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                                 address of the person to be served, other than a United States Postal Service post office box. I informed
                                                 him or her of the general nature of the papers.
                                   (4)❑        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                               at the place where the copies were left(Code Civ. Proc.,§415.20) I mailed the documents on
                                               (date):              (city):              or ❑ a declaration of mailing is attached.

                                                                                                                                                                   Page 1 of 2


           Form Adopted for Mandatory Use                            PROOF OF SERVICE OF SUMMONS                                                       Code of Civil Procedure§417 10
           Judicial Council of California
           POS-010 (Rev January 1,2007]
      Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 47 of 49 Page ID #:52

                        (5)❑     I attach a declaration of diligence stating actions taken first to attempt personal service.

 PLANTIFF/PETITIONER: MARLENE KRISTOVICH, ET AL.                                                             CASE NUMBER:


 DEFENDANT/RESPONDENT: BANK OF AMERICA, N.A., ET AL.                                                         19STCV19173


 5. c.❑ by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
        address shown in item 4, by first-class mail, postage prepaid,

            (1)(date):                            (1)(city):
            (3)❑ with two copies of the Notice and Acknowledgment of Receipt(form 982(a)(4)) and a postage-paid return
                   envelope addressed to me.(Attach completed Notice and Acknowledgement of Receipt (form 982(a)(4).)
                   (Code Civ. Proc.,§415.30.)
            (4)❑ to an address outside California with return receipt requested.(Code Civ. Proc.,§415.40.)

    d.❑ by other means (specify means of service and authorizing code section):
          ❑      Additional page describing service is attached.

6. The "Notice to the Person Served" (on the summons) was completed as follows:
          a.❑ as an individual defendant
          b.❑ as the person sued under the fictitious name of (specify):
          c. El on behalf of (specify): BANK OF AMERICA, N.A., A NATIONAL BANKING ASSOCIATION
                    under the following Code of Civil Procedure section:
                    El 416.10 (corporation)                          ❑ 415.95 (business organization, form unknown)
                    ❑ 416.20 (defunct corporation)                   ❑ 416.60 (minor)
                    ❑ 416.30 (joint stock company/association)       ❑ 416.70 (ward or conservatee)
                    ❑ 416.40 (association or partnership)            ❑ 416.90 (authorized person)
                    ❑ 416.50 (public entity)                         ❑ 415.46 (occupant)
                                                                     ❑ other:

7. Person who served papers
       a. Name: MARIO LOPEZ
       b. Address: 800 W.1sT STREET,SUITE 200-B
           LOS ANGELES,CALIFORNIA 90012
       c. Telephone number:(213) 607-9000
       d. The fee for service was: $ 80.00
       e. I am:                                                            USA Legal Network
           (1)❑ not a registered California process server.
           (2)❑ exempt from registration under Business and Professions Code section 22350(b).
           (3) El registered California process server:
                          (i) ❑ owner ❑ Employee El independent contractor.
                          (ii)     Registration No.:5986
                          (iii) El County: LOS ANGELES

8. El I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           Or
9.❑ I am a California sherif or marshal and I certify that the foregoing is true and correct.

Date: JUNE 18, 2019



MARIO LOPEZ

(NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHALL)                                                 (SIGNATURE)




                                                                                                                                         Page 2 of 2


Form Adopted for Mandatory Use                      PROOF OF SERVICE OF SUMMONS                                              Code of Civil Procedure§417 10
Judicial Council of California
POS-010 [Rev January 1,2007]
      Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 48 of 49 Page ID #:53

                                                                                       Reserved for Clerk's File
                                                                                                    Clerk's Fi le Stamp
           SUPERIOR COURT OF CALIFORNIA
              COUNTY OF LOS ANGELES
            ADDRESS:
 COURTHOUSE ADDRESS:
 COURTHOUSE                                                                                      FILED
                                                                                                          California
                                                                                        Superior Court of Caidernia
 Stanley Mosk Courthouse                                                                                 Angeles
                                                                                                    Los Angeles
                                                                                          County of IDS
111 North
111 North Hill
          Hill Street,
               Street, Los
                       Los Angeles,
                           Angeles, CA 90012
                                       90012                                                  06/21/2019
                                                                                      Carer, Execulive
                                                                                 SieA Csrtx, Exewtree(Ulcer           Coun
                                                                                                              Gack al Caw
                                                                                                       Ofcw / Oak
 PLAINTIFF(S):
 PLAINTIFF(S):
                                                                                  By            Caro1Bres         DectilY
 Marlene, an
 Marlene,  an individual and as Trustee Kristovich et al
 DEFENDANT(S):
 DEFENDANT(S):

         America, N.A.,
 Bank of America, N.A., a national banking association
                                                                                      NUMBER:
                                                                                 CASE NUMBER:
                                                                                 CASE
                       ORDER TO SHOW CAUSE HEARING
                                                                                19STCV19173
                                                                                19STCV19173

                            record:
 To the party / attorney of record:
 You are ordered to appear for an Order to Show Cause Hearing on 08/21/2019    8:30
                                                                 08/21/2019 at 8:30 AM in
 department17_ of this court,
 department17          court, Stanley Mosk Courthouse
     show cause why
 and show       whysanctions
                     sanctions should not be imposed
                                             imposedfor:
                                                     for:
 [i]
 [V]      Failure                  service.
                  to file proof of service.
          Failureto

                               mayresult
 Failure to comply or appear may                        pursuantto
                                    result in sanctions pursuant                       following: California
                                                                 to one or more of the following:
                                     3.1340; Code of Civil Procedure sections 177.5,
           Court, rule 2.30 and rule 3.1340;
 Rules of Court,                                                                              583.150,
                                                                                       575.2, 583.150,
                                                                               177.5, 575.2,
 583.310, 583.360,
 583.310,            583.410, 583.420,
           583.360, 583.410,                                                      68608.
                                         583.430; and Government Code section 68608.
                               583.420, 583.430;

 [/]
 [✓]                           appearanceall
          To avoid a mandatory appearance                        mustbefiled
                                          all required documents must             least 5 days prior to the
                                                                      be filed at least
                      hearing.
          date of the hearing.




                                                                                  E. Rico
                                                                          Richard E.


  Dated: 06/21/2019
  Dated:                                                             Richard E.        f Judge
                                                                             E. Rico /Judge
                                                                            Judicial Officer




cc,




                                                   SHOW CAUSE HEARING
                                          ORDER TO SHOW
        166 (Rev.
  LACIV 166       09/08)
            (Rev. 09/08)                                                                                    Court, rule 2.30
                                                                                              Cal. Rules of Court,
                                                                                              Cal.
  LASC Approved 06-04                                                                                     Rules, Chapter 7
                                                                                              LASC Local Rules,
 Case 2:19-cv-06057-JFW-SS Document 1-1 Filed 07/15/19 Page 49 of 49 Page ID #:54


                             CALIFORNIA                                                  Reservedfor
                                                                                         Reserved     Clerk’s File Stamp
                                                                                                  for Clerk's
           SUPERIOR
           SUPERIOR COURT
                    COURT OF
                          OF CALIFORNIA

                            ANGELES
              COUNTY OF LOS ANGELES
COURTHCUSE ADDRESS:
COURTHOUSE ADDRESS:                                                                            _ FILED
                                                                                                 FILED
               Courthouse
Stanley Mosk Courthouse                                                                Superior Court
                                                                                       Superior           California
                                                                                                       of California
                                                                                                Court of
                                                                                                        Angeles
                                                                                                    Los Ageles
                                                                                              ty of Los
111 North Hill Street, Los Angeles, CA 90012                                                  ‘oak2019
                                                                                         Countyof
111 North Hill Street, Los Angeles, CA 90012
                                                                                              06/21/201
                                                                                                      n9
PLAINTIFF/PETITIONER:
PLAINTIFF/PETITIONER:                                                           Shineit F. Carter,
                                                                                    rn R.  Comtar: Exeoutree
                                                                                                   Bxacnnvs Ofter
                                                                                                             Omit /| Citit
                                                                                                                     Gamat    As
                                                                                                                           IA Coke
Marlene, an
Marlene, an individual
            individual and
                       and as
                           as Trustee
                              Trustee Kristovich
                                      Kristovich et
                                                 etal
                                                    al                           byCOLES
                                                                                 By. Carol Elie                       Heputy
                                                                                                                       D eputy

DEFENDANT/RESPONDENT:
DEFENDANT/RESPONDENT:
Bank of
Bank  of America,
         America, N.A., a national
                  N.A., a national banking
                                   banking association
                                           association
                                                                                     NUMBER:
                                                                                CASE NUMBER:
                        CERTIFICATE OF MAILING
                        CERTIFICATE                                             19STCV19173
                                                                                19STCV19173

I, the below-named Executive Officer/Clerk of the above-entitled court,
I,                                                                      court, do hereby certify that I| am not a
                        herein, and that on this date I| served
party to the cause herein,                               served the Order to Show Cause Failure to File Proof of
                                 counsel named below by placing the document
Service upon each party or counsel                                     documentforforcollection               so as
                                                                                      collection and mailing so
    cause it
to cause    it to be deposited in the United States mail at the courthouse in Los Angeles,
                                                                                     Angeles,California,
                                                                                               California, one copy
of the original filed/entered herein in  in a separate
                                              separate sealed
                                                       sealed envelope to each address as shown
                                                                                             shownbelow
                                                                                                     below with the
postage thereon
postage    thereonfully    prepaid, in accordance with standard court practices.
                     fully prepaid,                                    practices.




    Neville L Johnson                                             Robert Paredes
    JOHNSON & JOHNSON LLP                                         Johnson & Johnson LLP
    439 N Canon Dr  Dr Suite
                        Suite 200                                 439 N.          Drive, Suite 200
                                                                      N. Canon Drive,
             Hills, CA 90210
    Beverly Hills,                                                        Hills, CA 90210
                                                                  Beverly Hills,




                                                                  Carter, Executive Officer / Clerk of Court
                                                               R. Carter,
                                                        Sherri R.

Dated: 06/21/2019
Dated:                                                   By: Carol Ellis
                                                         By:
                                                             Deputy Clerk




                                        CERTIFICATE OF
                                        CERTIFICATE    MAILING
                                                    OF MAILING
